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                       EXHIBIT B
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                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF VIRGINIA
                                 Richmond Division

  JUDY HALCOM, HUGH PENSON,
  HAROLD CHERRY, and RICHARD
  LANDINO, individually and on behalf of
  all others similarly situated,

                             Plaintiffs,

                     v.                    Civil Action No.: 3:21-CV-00019-REP

  GENWORTH LIFE INSURANCE
  COMPANY and GENWORTH LIFE
  INSURANCE COMPANY OF NEW
  YORK,

                            Defendants.



     JOINT STIPULATION OF CLASS ACTION SETTLEMENT AND RELEASE
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       This Joint Stipulation of Class Action Settlement and Release (the “Settlement

Agreement”) is made and entered into by and between Judy Halcom, Hugh Penson, Harold

Cherry, and Richard Landino (“Named Plaintiffs”), on behalf of themselves and the putative

class of individuals defined in this Settlement Agreement (collectively Plaintiffs), on the one

hand, and Defendants Genworth Life Insurance Company (“GLIC”) and Genworth Life

Insurance Company of New York (“GLICNY”) (together, GLIC and GLICNY, “Genworth” or

“Defendants”), on the other hand. Collectively, Plaintiffs and Defendants are referred to herein

as the “Parties,” and individually, each as a “Party.” Subject to Court approval as required by

Federal Rule of Civil Procedure (“FRCP”) 23, the Parties hereby stipulate and agree that, in

consideration of the promises and covenants set forth in this Settlement Agreement and upon

entry by the Court of a Final Order and Judgment and resolution of any appeals from that Final

Order and Judgment, this action shall be settled and compromised in accordance with the terms

of this Settlement Agreement.

                                          I. RECITALS

       1.      WHEREAS, on January 11, 2021, Named Plaintiffs filed a complaint (the

“Complaint”) against Defendants for alleged misrepresentations based on the alleged failure to

disclose material information in the premium rate increase letters sent for certain long-term care

insurance policies issued by GLIC and GLICNY in the action styled as Halcom et al. v.

Genworth Life Insurance Company et al., Civil Action No. 3:21-CV-00019-REP in the United

States District Court of the Eastern District of Virginia (the “Action”). Named Plaintiffs sought

to represent a class of all Policyholders (defined below) who had received such letters in all fifty

states and the District of Columbia, and Named Plaintiffs asserted claims for Fraudulent

Inducement by Omission and for Declaratory Relief;




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          2.   WHEREAS, Named Plaintiffs sought relief including compensatory,

consequential, and general damages in an amount to be determined at trial, injunctive relief,

costs and disbursements of the action, pre- and post-judgment interest, reasonable attorneys’

fees, and such other and further relief as this Court may deem just and proper;

          3.   WHEREAS, on or about March 15, 2021, Defendants filed an Answer to the

Complaint denying that Named Plaintiffs are entitled to any of the relief sought in the Complaint

and asserted affirmative and other defenses to the Complaint;

          4.   WHEREAS, the Parties have engaged in significant discovery relating to Named

Plaintiffs’ claims;

          5.   WHEREAS, Genworth denies and continues to deny any wrongdoing or legal

liability for any alleged wrongdoing, does not admit or concede any actual or potential fault,

wrongdoing, or legal liability in connection with any facts or claims that have been or could have

been alleged in the Action, and contends that neither Named Plaintiffs nor the putative classes

have been injured or are entitled to any relief;

          6.   WHEREAS, Genworth denies that this case is suitable for class treatment other

than in the context of a settlement or that Named Plaintiffs would be able to demonstrate on a

contested motion that any non-settlement class should be certified;

          7.   WHEREAS, Named Plaintiffs believe all the claims alleged in the Action have

merit and that the Action would be certified as a class action for trial under FRCP 23(b)(2) and

(b)(3);

          8.   WHEREAS, the Parties have engaged in significant settlement efforts including

two days of in-person mediation sessions with an experienced and highly qualified mediator, and

engaged in numerous additional discussions through counsel, and this Settlement Agreement is a

result of those significant, arms-length negotiations;

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       9.      WHEREAS, the Parties reached this Settlement Agreement as a compromise of

the disputed matters described herein and due to the uncertainties, risks, expenses, and business

disruptions of continued litigation;

       10.     WHEREAS, on June 18, 2021, the Parties entered into a Memorandum of

Understanding for Class-Action Settlement (the “Memorandum of Understanding”);

       11.     WHEREAS, on June 23, 2021, the Parties advised the Court that they had

mediated their dispute and reached agreement on the terms of a Memorandum of Understanding;

       12.     WHEREAS, on July 2, 2021, the Parties attended a joint teleconference with the

Court to discuss the proposed settlement and schedule for seeking Court approval of the

settlement;

       13.     WHEREAS, this Settlement Agreement supersedes and replaces the

Memorandum of Understanding;

       14.     WHEREAS, nothing in the Memorandum of Understanding, this Settlement

Agreement, or in the settlement process should be construed as an admission of any liability

fault, or wrongdoing by Genworth; and

       15.     WHEREAS, the Parties have agreed that the Settlement Agreement is fair,

reasonable, and adequate, and in the best interests of Named Plaintiffs and the Class (defined

below), and have agreed to settle the Action taking into account the strengths and weaknesses of

their respective claims and defenses and the risks of uncertainty absent settlement;

       NOW THEREFORE, in consideration of the foregoing facts and of the agreements and

consideration set forth below, the Parties mutually agree as follows:

                                       II. DEFINITIONS

       16.     Class Counsel: “Class Counsel” shall be defined as Goldman Scarlato & Penny,

P.C., Robbins Geller Rudman & Dowd LLP, Berger Montague PC, and Phelan Petty P.C.

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         17.      Class Notice: “Class Notice” means Court directed appropriate notice pursuant to

FRCP 23(e), the form of which is in Appendix E.

         18.      Class or Class Members: “Class” or “Class Members” shall be defined as all

Policyholders of GLIC and GLICNY long-term care insurance PCS I and PCS II Class Policies,

and State variations of those Class Policies in force at any time during the Class Period and

issued in any of the States1 excluding: (1) those Policyholders whose policies went into Non-

Forfeiture Status or entered a Fully Paid-Up Status prior to January 1, 2014; (2) those

Policyholders whose Class Policy is Lapsed and is outside any period Genworth allows for the

Class Policy to be automatically reinstated with payment of past due premium, or whose Class

Policy has otherwise Terminated, as of the date of the Class Notice; and those Policyholders

whose Class Policy is Lapsed and is outside any period Genworth allows for the Class Policy to

be automatically reinstated with payment of past due premium or has otherwise Terminated, as

of the date the Special Election Letter (defined below) would otherwise be mailed to the

Policyholder; (3) those Policyholders who are deceased at any time before their signed Special

Election Option is post-marked for mailing to Genworth, or is faxed or emailed to Genworth; (4)

Genworth’s current officers, directors, and employees as of the date Class Notice is mailed; and

(5) Judge Robert E. Payne and his immediate family and staff.

         19.      Class Period: The “Class Period” means any time on or between January 1, 2012

and the date the Class Notice is mailed.

         20.      Class Policies: “Class Policies” means Genworth long-term care insurance

policies, or, for group policies, certificate forms identified in Appendix A to this Settlement




1
 The complete list of the Class Policy forms that are included within the definition of Class is attached hereto as
Appendix A.
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Agreement in force at any time during the Class Period and issued in any of the fifty (50) states

of the United States or the District of Columbia (the “States”).

       21.     Court: “Court” means the United States District Court for the Eastern District of

Virginia.

       22.     Fee Award: “Fee Award” means the attorneys’ fees, costs, and/or expenses

approved and awarded by the Court to Class Counsel, not to exceed the amounts stated in

paragraphs 51 and 52 below.

       23.     Final Approval Hearing: “Final Approval Hearing” means the hearing at or after

which the Court will consider the Parties’ positions and make its decision whether to finally

approve the settlement as fair, reasonable, and adequate under FRCP 23(e)(2).

       24.     Final Fee Award: “Final Fee Award” means the date on which the Fee Award

becomes “Final.” For purposes of this provision: (1) if no appeal has been taken from the Fee

Award, “Final” means that the time to appeal or seek any review therefrom has expired; or (2) if

there is either an appeal or review of the Fee Award, “Final” means that all available appeals or

review, including any petition for rehearing or reargument, petition for rehearing en banc, further

appeals at any level, petition for certiorari, or any other form of review, have been fully disposed.

       25.     Final Order and Judgment: “Final Order and Judgment” means the order issued by

the Court finally approving the Settlement Agreement in all material respects together with the

judgment entered pursuant to that order after the Final Approval Hearing.

       26.     Final Settlement Date: “Final Settlement Date” means the date on which the Final

Order and Judgment becomes “Final.” For purposes of this provision: (1) if no appeal has been

taken from the Final Order and Judgment, “Final” means that the time to appeal or seek any

review therefrom has expired; or (2) if any appeal or review has been taken from the Final Order

and Judgment, “Final” means that all available appeals or review therefrom, including any

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petition for rehearing or reargument, petition for rehearing en banc, further appeals at any level,

petition for certiorari, or any other form of review, have been finally disposed of in a manner that

fully affirms the Final Order and Judgment.

        27.     Fully Paid-Up Status: “Fully Paid-Up Status” means a status whereby a Class

Policy is continued in full force and effect and no further premiums are owed. A Class Policy in

Fully Paid-Up Status does not include a Class Policy that is in a Non-Forfeiture Status.

        28.     Genworth Released Parties: “Genworth Released Parties” means Defendants and

each of Defendants’ respective affiliates, predecessors, successors, parents, subsidiaries, and, for

each of the foregoing, their current, former, and future directors, officers, direct and indirect

owners, members, managers, attorneys, representatives, employees, and agents.

        29.     Lapse or Lapsed: “Lapse” or “lapsed” means a status whereby a policy is no

longer in force because premium was not paid as required. A lapsed policy terminates and cannot

be reinstated if it is outside any period Genworth allows for the policy to be automatically

reinstated with payment of past due premium. For purposes of this Agreement, a policy in Non-

Forfeiture Status is not a lapsed policy.

        30.     Lifetime Stable Premium Option or LSPO: “Lifetime Stable Premium Option” or

“LSPO” means an option that allows Class Members to adjust their coverage to mitigate current

and/or planned future rate increases and includes a new set premium rate that will not increase

for the lifetime of their policies.

        31.     Non-Forfeiture Status: “Non-Forfeiture Status” means a policy status where the

Policyholder has exercised a “Non-Forfeiture Option.” “Non-Forfeiture Options” include, but are

not limited to, benefits that may have been made available pursuant to: an optional Non-

Forfeiture Benefit Rider; the Limited Benefits Upon Lapse Due to a Substantial Premium

Increase (also called a Contingent Non-forfeiture Benefit); the Limited Non-Forfeiture Option;

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the Optional Limited Benefit Endorsement; or the Limited Benefit with Payment for Partial

Policy Disposition.

       32.     Partnership Plan: “Partnership Plan” means the Long-Term Care Partnership

Program, which is part of a federally-supported, state-operated initiative that allows individuals

who purchase qualified long term care insurance policies or coverage to protect a portion of

assets that they would typically need to spend down prior to qualifying for Medicaid coverage.

       33.     Policyholder(s): “Policyholder(s)” means the policy owner, except:

               (a)     where a single policy or certificate insures both a policy or certificate

owner and another insured person, “Policyholder(s)” means both the policy or certificate owner

and the other insured person jointly;

               (b)     where the Class Policy at issue is certificate 7000X, 7020X, 7000Y,

7030CRT, 7031CRT, or 7032CRT, or any other Class Policy that is a certificate issued under a

group long-term care insurance policy, “Policyholder(s)” means the certificate holder.

       34.     Publication Notice: “Publication Notice” means the notice of the Settlement

Agreement recommended by the Settlement Administrator, subject to approval from the Parties,

to be published on one business day in the national editions of The New York Times, The Wall

Street Journal, and USA Today, no later than fifteen (15) days before the deadline for submitting

Requests for Exclusion (defined below) from the Class in the form attached hereto as Appendix

F.

       35.     Quarter(s): “Quarters” mean the following time periods within a calendar year,

(where each time period is one “Quarter”): January 1 to March 31, April 1 to June 30, July 1 to

September 30, and October 1 to December 31.

       36.     Stable Premium Option or SPO: “Stable Premium Option” or “SPO” means an

option that allows Class Members to adjust their coverage to mitigate current and/or planned

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future rate increases and includes a new set premium rate that will not increase until at least

January 1, 2028.

       37.     States: “States” means the fifty (50) States of the United States and the District of

Columbia.

       38.     State Regulator(s): “State Regulator(s)” means the applicable insurance

regulator(s) with authority for regulating long-term care insurance products in the State(s) in

which Class Members’ Class Policies were issued.

       39.     Terminated: “Terminated” means a status whereby a Class Policy is no longer in

force and is unable to be automatically reinstated by the Policyholder with payment of past due

premium. It includes, for example, a Class Policy that has lapsed beyond the period permitted for

automatic reinstatement, a Class Policy that has been cancelled, or a Class Policy (including a

policy in Non-Forfeiture Status) that is no longer in force because all available benefits have

been exhausted.

       40.     Other capitalized terms used in this Settlement Agreement but not defined in

Section II shall have the meanings ascribed to them elsewhere in this Settlement Agreement.

                                III. TERMS OF SETTLEMENT

       41.     Class Certification:

       (a)     For purposes of settlement only, Genworth will not oppose Named Plaintiffs’

motion seeking certification of the Class under FRCP 23(b)(3) and 23(e). Genworth expressly

reserves its rights to oppose class certification if the Settlement Agreement is not approved or is

terminated, and does not admit that a class could otherwise be certified for trial. If this

Settlement Agreement is not completed for any reason, Named Plaintiffs will not offer or use as

evidence in this Action or in any other proceeding for any reason the fact that Genworth has

agreed not to oppose a class for purposes of this Settlement Agreement.

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       (b)     Genworth and its counsel shall have the right to review and comment on the draft

motion to approve Class Notice and for preliminary approval of this settlement before such

motion is filed with the Court. Plaintiffs will cooperate in good faith with Genworth and not

unreasonably refuse to accept and implement Genworth’s suggestions or changes to the draft

motion.

       (c)     Named Plaintiffs’ motion to approve Class Notice and for preliminary approval of

this settlement shall seek approval that Class Notice be provided to the Class under FRCP

23(c)(2) in the form and manner described in paragraph 56 below. Class Notice will be provided

to the Class Members in the manner approved by the Court. Class Members will be afforded an

opportunity to object to the settlement or opt-out of the Class.

       42.     Consideration to Class: In consideration for the Releases (paragraph 46 below),

Genworth will provide Class Members with certain disclosures and settlement options (described

in paragraph 42(a)-(i) below) as approved by the Court, subject to review and/or approval by

State Regulators as set forth in paragraph 45 below.

       (a)     Genworth will send a special election letter (“Special Election Letter”) to all

Class Members providing the disclosures and offering settlement options that will be available to

each Class Member.

       (b)     The disclosures in the Special Election Letter will be in the form and substance

attached as Appendix B (the “Disclosures”). The options offered to Class Members in the

Special Election Letter will include maintaining their current benefits at their existing filed rates

(subject to any and all future rate increases that may be approved or otherwise permitted) or to

elect from a selection of paid-up reduced benefit options and/or reduced benefit options (also

subject to any and all future rate increases that may be approved or otherwise permitted)




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described in Appendix C (the “Special Election Options”), some of which also entitle Class

Members to damages payments.

       (c)     Each Class Member may elect only one Special Election Option per Class Policy

and, where a Class Policy insures a Class Member and another insured person (whether the other

insured person is a Class Member or not), both the Class Member and the other insured person

shall sign the form indicating their mutual choice of a Special Election Option.

       (d)     A template of the Special Election Letter, which will be customized for each

Class Member’s circumstances, is attached as Appendix D. Customization includes situations

where not all Special Election Options will be offered to each Class Member, as described in

paragraph 42(e)-(i) below.

       (e)     The specific Special Election Options offered to each Class Member will differ

because Special Election Options are subject to the availability based on each Class Member’s

current policy terms and benefits, and any State limitations concerning Partnership Plan

requirements, the availability of the Lifetime Stable Premium Option and/or Stable Premium

Option to the Class Member, and otherwise subject to any State Regulator(s)’ review and input

as described in paragraph 45 below. With the exception of Special Election Options that offer a

Stable Premium Option or Lifetime Stable Premium Option as further described in Appendix C,

no Class Member shall be eligible to elect a Special Election Option that increases the amount of

their current annual premium.

       (f)     The Special Election Options available to Class Members will be based on the

Class Members’ policy status and/or benefits at the time he or she makes an election, if any.

Thus, in some instances where the Class Members’ policy status and/or benefits change between

the time his/her Special Election Letter is generated and time the Class Member makes an




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election, the Special Election Options actually available to a Class Member may differ from what

is reflected in his or her Special Election Letter.

       (g)     The LSPO Special Election Option described in Appendix C, I.B.3 is only

available for Class Policies regulated by States that have specifically approved the availability of

that LSPO Special Election Option by or before the time the first Special Election Letter is

mailed to Class Members with Class Policies issued in that State.

       (h)     The SPO Special Election Option described in Appendix C, I.B.4 is only available

for Class Policies regulated by States that have specifically approved the availability of that SPO

Special Election Option by or before the time the first Special Election Letter is mailed to Class

Members with Class Policies issued in that State.

       (i)     A Class Member can only elect available Special Election Options while the Class

Member’s policy is in force. If, before electing a Special Election Option, a Class Member’s

policy lapses and is outside any period Genworth allows for the policy to be automatically

reinstated with payment of past due premiums, or the policy otherwise terminates, then Special

Election Options will not be available to that Class Member; if a Class Member’s policy lapses

but is still in the period where Genworth allows for the policy to be automatically reinstated by

paying any past-due premium, then the past due premium must be paid before the Class Member

can elect a Special Election Option.

       43.     Mailing of the Special Election Letter(s):

       (a)     The Special Election Letter shall be a mailing separate from the Class Notice.

       (b)     The Special Election Letter shall be sent after the Final Settlement Date and is

subject to paragraph 45 below.




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       (c)     The Special Election Letter will be sent after GLIC and GLICNY have had

sufficient time to properly prepare their administration systems for the mailing, processing, and

servicing of Special Election Letters and elections, after the Final Settlement Date.

       (d)     Once the preparation of the administration systems is complete (“Systems

Administration Completion”) and subject to any ongoing communications with any State

Regulator(s) as discussed in paragraph 45, Special Election Letters will be mailed approximately

six (6) to nine (9) months before each Class Member’s next billing anniversary date for his or her

Class Policy following Systems Administration Completion.

       (e)     Genworth shall have the option to mail additional letters to Class Members,

approximately thirty (30) days and approximately sixty (60) days after the mailing of the Special

Election Letter, for the purpose of reminding Class Members that they may respond to their

Special Election Letters.

       44.     Return of the Special Election Letter(s):

       (a)     Class Members are not required to choose any Special Election Option and can

leave their current Class Policy benefits unchanged, in which case they do not have to complete

or return a Special Election form. Class Members who wish to select a Special Election Option

shall have ninety (90) calendar days after the date the Special Election Letter is mailed to choose

a Special Election Option by sending Genworth a completed form indicating their selection of a

Special Election Option postmarked for return mailing by that date or, in the alternative, by fax

or email received by Genworth by that date.

       (b)     Class Members who do not communicate a Special Election Option selection to

Genworth (by form postmarked for return mailing or, in the alternative, by fax or email) within

ninety (90) calendar days forever waive their ability to select a Special Election Option and shall

still be members of the Class for purposes of this Settlement Agreement, including, but not

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limited to, the Release. However, Genworth may, at its option, process late Special Election

Option forms.    Genworth shall have no obligation to audit postmark return dates.

       (c)      Once a Class Member communicates a Special Election Option selection to

Genworth, he or she will not be allowed to select any other Special Election Option or reverse or

change his or her decision.

       (d)      If a Class Member elects a Special Election Option for which he or she is not

eligible at the time of the election (see, e.g., ¶ 42(f)), Genworth may provide that Class Member

an additional ninety (90) days to make an election from available Special Election Options.

       45.      State Regulatory Review and Conflict Carve-Out:

       (a)      Genworth shall provide the form of the Special Election Letter preliminarily

approved by the Court to each state’s State Regulator for review prior to a Special Election

Letter being sent to any Class Members whose Class Policy was issued in that State. This

submission may, at Genworth’s option, be a separate submission from the requirements of 28

U.S.C. § 1715(b).

       (b)      In connection with preliminary approval, the parties will ask the Court to set a

date by which Genworth will report to the Court any concerns or proposed changes to the

Disclosures, the Special Election Options, or the Special Election Letter received from State

Regulators, if any.

       (c)      If any State Regulator raises a concern about, objects to, or prohibits all or part of

the Special Election Letter or the Disclosures, Genworth, in consultation with Class Counsel,

shall have a right to decide: (1) whether to not send the Special Election Letter; and/or (2)

whether to modify the Special Election Letter for Class Members whose policies were issued in

such State to meet such State Regulator’s concerns.




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       (d)     If any State Regulator objects to or prohibits all or part of a particular Special

Election Option being offered to Class Members whose Class Policies were issued in that State,

Genworth, in consultation with Class Counsel, shall have the right to modify the Special Election

Letter and/or Special Election Option in response to the State Regulator’s stated concern or

objection.

       (e)     To allow Genworth to conclude its communications with State Regulator(s),

Genworth shall also have the option to delay the mailing of the Special Election Letters to Class

Members whose Class Policies were issued in any State(s) whose State Regulator(s) has/have

raised a concern about or objected to all or part of the Special Election Letter or the Disclosures

or whose State Regulator(s) have not responded to the Special Election Letter or Disclosures.

       (f)     Genworth and Class Counsel shall confer about and make good faith efforts to

agree upon any modification to the Disclosures, the Special Election Letter or the Special

Election Options before final resolution of those issues with any State Regulator(s), but

Genworth will have sole discretion to agree to any such resolution with any State Regulator.

       (g)     Only in the event that a State Regulator objects to or prevents Genworth from

providing the substance of the Disclosures contained in Appendix B in any form and objects to

or refuses to allow Genworth to offer any form of the Special Election Options, then Genworth,

in consultation with Class Counsel, will follow such direction from the State Regulator, not send

the Special Election Letter, and instead offer the impacted Class Members an election to obtain:

               (i)     For Class Members whose policies are still premium paying status, a $100

credit against future Class Policy premiums; or

               (ii)    For Class Members whose Class Policies are in Non-Forfeiture Status

only, a $100 one-time addition to the Class Members’ Non-Forfeiture Option benefit pool.




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       46.     Release by Named Plaintiffs and the Class:

       (a)     Upon the Final Settlement Date, each Class Member, as well as each Named

Plaintiff, releases and discharges the Genworth Released Parties of and from any and all known

or unknown, contingent or absolute, matured or unmatured, suspected or unsuspected, disclosed

or undisclosed, foreseeable or unforeseeable, liquidated or unliquidated, existing or arising in the

future, and accrued or unaccrued claims, demands, interest, penalties, fines, and causes of action,

that the Named Plaintiffs and Class Members may have from the beginning of time through and

including the Final Settlement Date that relate to claims alleged, or that have a reasonable

connection with any matter of fact set forth in the Action including, but not limited to, any

claims relating to rate increases on Class Policies. This release specifically includes any legal or

equitable claim arising from or related to any election or policy change made or not made by any

Class Members to his or her policy benefits prior to the Final Settlement Date. Named Plaintiffs

and Class Members will further release the Genworth Released Parties and Class Counsel from

any future claims, on any legal or equitable basis, relating to or arising out of the Special

Election Options and/or statements and representations provided in connection with the Special

Election Options including (but not limited to) any claim specifically relating to any decision, or

non-decision, to maintain, modify, or give up coverage. Collectively, the claims described in this

paragraph shall be referred to as the “Released Claims.”

       (b)     The Released Claims shall not include a Class Member’s claim for benefits under

his or her Class Policy consistent with his or her policy coverage, nor shall it include a Class

Member’s challenge or appeal of Genworth’s denial of benefits under his or her Class Policy.

       (c)     Upon the Final Settlement Date, each Class Member and each Named Plaintiff

expressly waives and releases any and all provisions, rights and benefits conferred by Section

1542 of the California Civil Code, which reads:

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       A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE
       CREDITOR OR RELEASING PARTY DOES NOT KNOW OR SUSPECT
       TO EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING
       THE RELEASE AND THAT, IF KNOWN BY HIM OR HER, WOULD
       HAVE MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH
       THE DEBTOR OR RELEASED PARTY.

Each Named Plaintiff and each Class Member similarly waives any and all rights and benefits

conferred by any law of any state or territory of the United States or any other jurisdiction or

principle of common law, which is similar, comparable or equivalent to Section 1542 of the

California Civil Code. Each Named Plaintiff and each Class Member may hereafter discover

facts other than or different from those which he or she knows or believes to be true with respect

to the Released Claims, but each Named Plaintiff and each Class Member hereby expressly

waives and fully, finally, and forever settles and releases, upon the Final Settlement Date, any

known or unknown, suspected or unsuspected, contingent or non-contingent claim that would

otherwise fall within the definition of Released Claims, whether or not concealed or hidden,

without regard to the subsequent discovery or existence of such different or additional facts.

       47.     Covenant Not to Sue by Named Plaintiffs and the Class: Class Members and

Named Plaintiffs covenant not to sue, directly or indirectly, any of the Genworth Released

Parties or Class Counsel with respect to any of the Released Claims. Class Members and Named

Plaintiffs shall forever be barred and enjoined from directly or indirectly filing, commencing,

instituting, prosecuting, maintaining, joining, or intervening in any action, suit, cause of action,

arbitration, claim, demand, or other proceeding in any jurisdiction, or before any tribunal or

administrative body (including any State Regulator, State Department of Insurance or other

regulatory entity) whether in the United States or elsewhere, on their own behalf or in a

representative capacity, that is based upon or arises out of any of the Released Claims. If any

Class Member or Named Plaintiff breaches this covenant not to sue, the Genworth Released

Parties or Class Counsel, as the case may be, shall be entitled to all damages resulting from that
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breach including but not limited to attorneys’ fees and costs in defending such an action or

enforcing the covenant not to sue.

       48.     Release by Genworth: Upon the Final Settlement Date, Genworth shall release

and discharge Named Plaintiffs, the Class, and Class Counsel from any and all claims that arise

out of or relate to the institution, prosecution, or settlement of the claims against Genworth in the

Action, except for claims relating to the breach or enforcement of this Settlement Agreement.

       49.     No Admission Of Liability: This Settlement Agreement is a compromise of

disputed claims and the consideration provided for herein is not to be construed as an admission

on the part of any Party hereto. Genworth denies any liability or wrongdoing of any kind

associated with the claims alleged in this lawsuit and further denies, for any purpose other than

that of settling the Action, that this lawsuit is appropriate for class treatment. Genworth shall not

make any allegation that this lawsuit was filed in bad faith or was frivolous. Named Plaintiffs

and Genworth are settling this case voluntarily after consultation with competent legal counsel.

Throughout the course of the litigation, the Parties and their counsel complied with the

provisions of FRCP 11. This Settlement Agreement shall not be used for any purpose, including

as evidence by any of the Parties in any judicial, administrative, arbitration, or other proceeding,

except for this current proceeding and for the purpose of enforcing the rights and obligations

created hereby.

       50.     Potential Tax and Partnership Plan Consequences: Payments made in connection

with this Settlement Agreement, any Special Election Option, and/or any decision by a Class

Members to modify his or her benefits may have tax consequences and/or consequences on his

or her Partnership Plan status, for which he or she is solely responsible.




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       51.     Payment of Class Counsel’s Attorneys’ Fees: If approved by the Court, Genworth

shall pay Class Counsel’s reasonable attorneys’ fees and litigation expenses, without reducing

the benefits to any Class Members, as follows:

       (a)     $1,000,000.00 relating to the injunctive relief that is substantially in the form of

the Disclosures and the Special Election Option set forth in Appendix C, Option I.A.2 that does

not involve a cash damages payment (“Injunctive Relief Fee”) within seven (7) calendar days of

the Final Settlement Date or the Final Fee Award, whichever is later.

       (b)     A payment equivalent to 15% or, if the Court orders a lower percentage to be paid

to Class Counsel as attorneys’ fees, the lower percentage, of the damages payments paid to Class

Members who elect any of the following Special Election Options described in Appendix C,

Options I.A.1, I.B.1, I.B.2, I.B.3, I.B.4, I.C.1, II.1, II.2, or III.1 (the “ Contingency Fees”). The

amount of the Contingency Fees shall be no greater than $18,500,000.00.

         (c)   Payments for Contingency Fees shall be calculated within twenty-one (21)

calendar days of the end of the Quarter and paid within fourteen (14) calendar days of that

calculation.

       (d)     If the Court or any reviewing court awards Class Counsel Injunctive Relief Fees

or Contingency Fees less than the amount specified in paragraphs 51 or 52, or requested by Class

Counsel, then Genworth shall pay such lesser amounts and not be responsible for or liable to

Class Counsel for any amount exceeding the amount awarded by the Court, and the above

payment amounts and schedule will be prorated accordingly.

       52.     Payment of Class Counsel’s Reasonable Expenses:

       (a)     Genworth shall pay Class Counsel’s reasonable litigation expenses approved by

the Court in an amount not to exceed $50,000.

       (b)     None of the expenses shall be deducted from the payments to Class Members.

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        (c)    These payments shall be made within seven (7) calendar days of the Final

Settlement Date, or the Final Fee Award, whichever is later.

        53.    Named Plaintiffs’ Service Payments:

        (a)    Genworth will pay within seven (7) calendar days of the Final Settlement Date a

service payment to each of the Named Plaintiffs (or if the Named Plaintiff passes away at any

time following the execution of this Settlement Agreement, to Named Plaintiff’s estate) in an

amount awarded by the Court, not to exceed $15,000.00 to each Named Plaintiff.

        (b)    None of these service payments shall be deducted from the payments to Class

Members.

        54.    Non-Disparagement, Confidentiality, and Public Statements:

        (a)    Named Plaintiffs, Genworth, Class Counsel, and Genworth’s Counsel shall not

make any statements, orally or in writing, to third parties that disparage, are inimical to, or

damage the reputation of the Parties. Disparaging remarks, comments, or statements are those

that impugn the character, honesty, integrity, morality, business acumen, motives or abilities of

the Parties.

        (b)    Named Plaintiffs, Genworth, Class Counsel, and Genworth’s Counsel, except to

the extent otherwise agreed, shall keep confidential and shall make no public statements about

the existence and contents of this Settlement Agreement and all settlement and mediation

discussions and related negotiations until the date on which the motion for preliminary approval

is filed. However, this provision shall not prevent the disclosure, prior to the date on which the

motion to notice the Class is filed, of the contents of the Settlement, or the Settlement Agreement

(a) by Genworth to its regulators, reinsurers, rating agencies, financial analysts, securities

underwriters, auditors, accountants, counsel, and/or any entity to which Genworth has a legal or

other mandatory reporting requirement, or (b) to any other person or entity (such as experts) to

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which these parties agree disclosure must be made in order to effectuate the terms and conditions

of the Settlement Agreement.

       (c)     Named Plaintiffs, Genworth, Class Counsel, and Genworth’s Counsel shall not

make public statements regarding the Settlement Agreement at any time except as required by

law or with the prior approval of the other Party, except that Class Counsel, Genworth, and

Genworth’s counsel may make any statements necessary to communicate with Class Members in

response to questions they raise after receipt of Class Notice or the Special Elections Letter,

including, but not limited to, through a call center and/or website maintained by Genworth, and

Genworth may make appropriate or necessary statements to their investors, regulators, and in

connection with regulatory or required reports and filings.

       (d)     Named Plaintiffs and Class Counsel shall not advertise, promote, or share news or

information concerning or related to the Settlement Agreement at any time with the media or

others who are not necessary to effectuate the terms of the Settlement Agreement, except that

Class Counsel may, subject to Genworth’s prior approval, publish the Settlement Agreement on

their law firms’ respective websites along with a brief, accurate statement regarding the

Settlement Agreement and a link to the settlement website for additional information.

       (e)     If, at any time, either Genworth, Named Plaintiffs, Class Counsel, or the

Settlement Administrator receives any subpoena or other request for information or documents

concerning this Settlement or Settlement Agreement, the recipient of such subpoena or request

shall provide within five (5) calendar days of receipt of such subpoena or request, notice to Class

Counsel and Genworth’s Counsel and shall not disclose or produce any information or

documents to the subpoenaing or requesting person or entity unless (i) Class Counsel and

Genworth’s Counsel have approved disclosure or production, (ii) Class Counsel, Genworth, and

Genworth’s Counsel have not objected to the subpoena or request within the applicable time to

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do so, or (iii) the Court or other tribunal with jurisdiction over the subpoena or request has

authorized or directed production of such information or documents.

       55.     Settlement Administrator: Subject to the Court’s approval, the Parties shall utilize

Epiq Class Action & Mass Tort Solutions, Inc., a neutral third party, as the “Settlement

Administrator.” The Settlement Administrator shall be responsible for mailing Class Notices (as

further described below), maintaining a settlement website (as to which Genworth and Named

Plaintiffs shall agree in good faith on form and substance), receiving and reviewing Requests for

Exclusion, providing regular reports on the administration of the settlement to Class Counsel and

Genworth’s counsel, and auditing Special Election Options pursuant to paragraph 62 below.

Genworth shall pay all costs and expenses relating to the notice and settlement administration

plan approved by the Court.

       56.     Class Notice:

       (a)     Within sixty (60) calendar days after the Court grants approval to provide the

Class Notice, Genworth shall provide to the Settlement Administrator a list of all known Class

Members with each Class Member’s last-known mailing address from Genworth’s records (the

“Class List”). Within thirty (30) calendar days of receiving the Class List from Genworth, the

Settlement Administrator shall send out the Class Notice by direct mail. There shall not be a

claim form included with the Class Notice. The Class Notice is attached as Appendix E.

       (b)     Subject to Court approval, the Settlement Administrator shall also publish the

Publication Notice (attached as Appendix F), which shall be at least an eighth of a page in size.

       57.     Websites:

       (a)     The contents of the Class Notice shall be reproduced on a website maintained by

the Settlement Administrator, with the input and oversight of Genworth’s counsel and Class

Counsel. The website shall include information regarding the nature of the lawsuit, a summary of

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the substance of the settlement, the Class definition, the procedure and time period to request

exclusion from and/or object to the settlement, and the date set for the Final Approval Hearing.

       (b)     Genworth may also maintain a website with information available for Class

Members to consult upon receiving the Special Election Letters. Genworth shall provide Class

Counsel with an advance opportunity to review, comment, and make suggestions on the website

content. Genworth shall cooperate with and not unreasonably refuse to accept such suggestions.

       58.     Requests for Exclusion: Class Members must submit any requests to be excluded

from the Class (“Requests for Exclusion”) to the Settlement Administrator with a postmark on or

before sixty (60) calendar days after mailing of the Class Notice, as described in the Class

Notice. So-called “mass” or “class” opt outs shall not be allowed. The Settlement Administrator

shall promptly provide notice to Class Counsel and Genworth’s counsel of any Requests for

Exclusion that it receives.

       59.     Termination:

       (a)     If more than 10% of Class Members request exclusion from the Class or State

Regulators representing 10% or more of the Class Members object to the Disclosures and/or

Special Election Options, Genworth shall have the right, but not the obligation, to terminate this

Settlement Agreement. Genworth may do so by giving written notice to Class Counsel within

thirty (30) calendar days of the Settlement Administrator providing its final report of Requests

for Exclusion to Genworth’s counsel and Class Counsel. Termination shall void all of the rights,

obligations, and Releases under this Settlement Agreement, except the provisions that are

necessary to effectuate such termination.

       (b)     Separately and alternatively, Genworth and/or Named Plaintiffs may terminate

this Settlement Agreement if the Court or any appellate court, rejects, modifies, or denies

approval of any portion of the Settlement Agreement that the terminating party in its sole

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judgment and discretion reasonably determines is material, except that Genworth and/or Named

Plaintiffs may not terminate because of a reduction in the amount of any award of attorneys’

fees, expenses, or Named Plaintiffs’ Service Payments authorized by the Court or any appellate

court. Genworth may terminate this Settlement Agreement if the Court or any appellate court

awards any attorneys’ fees, expenses, or Named Plaintiffs’ Service Payment in an amount higher

than that specified in this Settlement Agreement, and shall not be responsible for or liable to

Class Counsel or Named Plaintiffs for any such higher amount.

       60.     Objections: Class Members must submit any objections to the settlement in

writing to the Court with a postmark on or after sixty (60) calendar days after mailing of Class

Notice, as described in the Class Notice.

       61.     Special Election Letter and Option Questions: Genworth may respond to

communications and questions from Class Members regarding the Settlement Agreement and

Special Election Options. Genworth will operate a call center and may maintain a website.

Named Plaintiffs and Class Counsel agree that communications between Genworth and Class

Members regarding the administration of the Settlement Agreement and the Special Election

Options are expected, appropriate, and not in violation of any rules about communications with

Class Members.

       62.     Audit by Settlement Administrator:

       (a)     Genworth shall process and track the Special Election Options elected by Class

Members and sent by those Class Members to Genworth.

       (b)     Genworth, or its designee, shall generate quarterly reports to be provided to the

Settlement Administrator of Genworth’s record of Class Members’ election of Special Election

Options in its policy administration system as follows:




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                (i)    Following the close of the first Quarter in which Genworth receives and

records the first Class Member’s Special Election Option, Genworth, or its designee, will send to

the Settlement Administrator and Class Counsel a report of all elections Genworth has recorded

in its policy administration system each Quarter within twenty-one (21) calendar days following

the last day of that Quarter (the “Audit Report”).

                (ii)   The Audit Report shall collectively include, for each election, the Class

Members’ Class Policy number, the Special Election Option selected, the amount of any cash

damages to be paid as a result of any Special Election Option selected, the amount of any paid-

up benefits obtained by the election of a paid-up benefit option (i.e., Appendix C, Option I.A.1

and I.A.2), and the date that Genworth recorded the Class Member’s Special Election Option

into its policy administration system.

       (c)      For each Audit Report, the Settlement Administrator will select a random sample

of Class Members not to exceed twenty-five (25) if the Audit Report lists one-thousand (1,000)

or fewer Special Election Options and not to exceed fifty (50) if the Audit Report lists in excess

of one-thousand (1,000) Special Election Options. Collectively, the foregoing information shall

be referred to as the “Audit Sample.”

       (d)      With respect to, and within twenty-one (21) calendar days of receiving the Audit

Sample from the Settlement Administrator, Genworth, or its designee, will provide to the

Settlement Administrator a copy of the written Special Election Options received from the

selected Class Members and a spreadsheet or other document reflecting (i) the amount of any

claims payments to the Class Members, (ii) the Class Member’s (as billed) annual premium prior

to the election of the Special Election Option, and (iii) annual premium for the Special Election

Option selected. Collectively, the foregoing information shall be referred to as the “Audit

Information.”

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         (e)      The Settlement Administrator shall, within fourteen (14) calendar days of receipt

of the Audit Information, conduct an audit to determine if the Audit Information is consistent

with the Audit Report and provide the results of that audit to both Genworth and Class Counsel.

Collectively, the foregoing information shall be referred to as the “Audit Results.” Genworth will

use good faith efforts to resolve any discrepancies identified by the Settlement Administrator’s

audit.

         (f)      If it is determined, whether as a result of an audit or otherwise, that Genworth

made an error in processing, implementing, recording or reporting any Class Member’s election

or the calculation of any cash damages, Genworth shall not be liable to the Class Members or to

Class Counsel for any damages or other relief, provided that the error is corrected.

         (g)      Any and all Audit Reports, Audit Samples, Audit Information, and/or Audit

Results shall be treated as Confidential pursuant to the Protective Order in this Action.

         63.      Defendants’ Representations:

         (a)      Solvency: As of the date of the execution of this Agreement, GLIC and GLICNY

represent and warrant that they are solvent as determined by their respective State insurance

regulator(s). GLIC and GLICNY further represent and warrant that, based on their respective

current best estimates as of the date of the execution of this Agreement, the payment of Cash

Damages, the Injunctive Relief Fee, Contingency Fees, Class Counsel’s litigation expenses, and

Named Plaintiffs’ Service Payments (the “Settlement Costs”) will not cause GLIC or GLICNY

to become insolvent under applicable State insurance rehabilitation, liquidation, and/or

receivership laws.

         (b)      Future Rate Increases: GLIC and GLICNY represent and warrant that they will

not use the Settlement Costs as part of the actuarial justification in seeking any additional future

rate increases.

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       64.     Calculation of Deadlines: For purposes of the calculation of any deadlines or time

periods as detailed in this Settlement Agreement, “calendar days” means each day, not including

the day of the act, event, or default from which a designated period of time begins to run, but

including the last day of the period, unless it is a Saturday, Sunday, or U.S. federal government

holiday, in which case the period runs until the end of the next day that is not a Saturday,

Sunday, or U.S. federal government holiday.

       65.     Enforceability: This Settlement Agreement is fully enforceable and binding and is

admissible and subject to disclosure in any proceeding to enforce its terms, notwithstanding the

settlement and/or mediation confidentiality provisions that otherwise might apply under

applicable law. The prevailing Party in any civil action to enforce this Settlement Agreement

may petition the court to recover costs and reasonable attorneys’ fees incurred in connection with

such an enforcement action or motion. The Court shall retain jurisdiction over the Parties to

enforce this Settlement Agreement and the Final Order and Judgment.

       66.     Mutual Full Cooperation: The Parties shall fully cooperate with each other and

use their best efforts to accomplish the terms of this Settlement Agreement including, but not

limited to, execution of such documents and to take such other actions as may be reasonably

necessary to implement the terms of this Settlement Agreement.

       67.     No Prior Assignments: The Parties represent, covenant, and warrant that they

have not directly or indirectly assigned, transferred, encumbered, or purported to assign, transfer,

or encumber to any person or entity any portion of any liability, claim, demand, action, cause of

action, or rights herein released and discharged except as set forth herein.

       68.     Construction and Choice of Law: The terms and conditions of this Settlement

Agreement are the result of extensive, arm’s-length negotiations between the Parties, and all

Parties have participated in the drafting of this Settlement Agreement and setting forth its terms,

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and this Settlement Agreement shall not be construed in favor of or against any Party by reason

of the extent to which any Party or their counsel has participated in the drafting of this

Settlement Agreement. The law of Virginia shall govern this Settlement Agreement.

       69.      Modification: This Settlement Agreement may not be changed, altered, or

modified except in a writing signed by GLIC, GLICNY, Class Counsel, and each of the Named

Plaintiffs (in their individual and representative capacities), the parties hereto, or as ordered by

the Court following a written stipulation between GLIC, GLICNY, Class Counsel, and each of

the Named Plaintiffs (in their individual and representative capacities) effectuated through their

counsel or the verbal stipulation of counsel for GLIC, GLICNY, Class Counsel, and each of the

Named Plaintiffs (in their individual and representative capacities) in open court.

       70.      Notice: All notices provided for under this Settlement Agreement shall be in

writing and shall be given (and shall be deemed to have been duly given upon receipt) by

delivery in person, or by an overnight delivery service or by registered or certified mail, postage

pre-paid, return receipt requested, as follows:If to the Named Plaintiffs:

                        Goldman Scarlato & Penny, P.C.
                        Brian D. Penny
                        161 Washington Street, Suite 1025
                        Conshohocken, PA 19428
                        Telephone: (484) 342-0700
                        Email: penny@lawgsp.com

                        Robbins Geller Rudman & Dowd LLP
                        Stuart A. Davidson
                        120 East Palmetto Park Road, Suite 500
                        Boca Raton, FL. 33432
                        Telephone: (561) 750-3000
                        Email: sdavidson@rgrdlaw.com

             (b) If to Genworth:

                        Genworth Life Insurance Company
                        Attention: General Counsel
                        6620 W. Broad Street
                        Richmond, VA 23230
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                       with a copy (which shall not constitute notice) to:

                       Michael Duvall
                       DENTONS US LLP
                       601 South Figueroa Street Suite 2500
                       Telephone: (213) 892-2818
                       Email: michael.duvall@dentons.com

                       Brian Pumphrey
                       MCGUIREWOODS LLP
                       Gateway Plaza
                       800 East Canal Street
                       Richmond, VA 23219-3916
                       Telephone: (804) 775-7745
                       Email: bpumphrey@mcguirewoods.com

       71.     Entire Agreement: This Settlement Agreement contains the entire agreement

between the Parties relating to this lawsuit, the settlement, and the transactions contemplated

herein and supersedes all prior or contemporaneous agreements, understandings, representations,

and statements, whether oral or written, and whether by a Party or such Party’s counsel, related

to the lawsuit or the settlement.

       72.     Counterparts: This Settlement Agreement may be executed in counterparts,

which, when taken together with other signed counterparts, shall constitute one fully executed

agreement that shall be binding upon and effective as to all Parties. Photographic, facsimile, and

scanned PDF copies of signatures shall have the same efficacy of original signatures and may be

used for any purpose consistent with this Settlement Agreement.

       73.     Representations: By signing this Settlement Agreement, each of the Parties

expressly represents and warrants as follows:

               (a)     That it has read the foregoing Settlement Agreement, knows and

understands the contents thereof, and has entered into this Settlement Agreement voluntarily and

of its own volition.



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              (b)     That, in entering into this Settlement Agreement, it has not relied on any

representation, warranty, or promise made by any person, except for those expressly set forth

herein.

              (c)     That, in entering into this Agreement, it has been advised of its meaning

and consequences by its legal counsel.

              (d)     That it, or the person executing this Agreement on its behalf, has full

power, capacity and authority to execute and deliver this Agreement.

                                    [signatures on next page]




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            Agreed to by:

                     JUDY HALCOM
                                                                                 8/23/2021
                     _________________________________________ Date:________________________
                     Judy Halcom, Named Plaintiff in Her Individual and Representative Capacities


                     HUGH PENSON

                     _________________________________________ Date:________________________
                     Hugh Penson, Named Plaintiff in His Individual and Representative Capacities


                     HAROLD CHERRY

                     _________________________________________ Date:________________________
                     Harold Cherry, Named Plaintiff in His Individual and Representative Capacities

                     RICHARD LANDINO

                     _________________________________________ Date:________________________
                     Richard Landino, Named Plaintiff in His Individual and Representative Capacities


                     GENWORTH LIFE INSURANCE COMPANY

                     _________________________________________           Date:________________________
                     Genworth Life Insurance Company

                     By: Brian Haendiges

                     Its: President, CEO, and Chief Risk Officer


                     GENWORTH LIFE INSURANCE COMPANY OF NEW YORK

                     _________________________________________           Date:________________________
                     Genworth Life Insurance Company of New York

                     By: Brian Haendiges

                     Its: Senior Vice President and Chief Risk Officer




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            Agreed to by:

                     JUDY HALCOM

                     _________________________________________ Date:________________________
                     Judy Halcom, Named Plaintiff in Her Individual and Representative Capacities


                     HUGH PENSON
                                                                                8/22/2021
                     _________________________________________ Date:________________________
                     Hugh Penson, Named Plaintiff in His Individual and Representative Capacities


                     HAROLD CHERRY

                     _________________________________________ Date:________________________
                     Harold Cherry, Named Plaintiff in His Individual and Representative Capacities

                     RICHARD LANDINO

                     _________________________________________ Date:________________________
                     Richard Landino, Named Plaintiff in His Individual and Representative Capacities


                     GENWORTH LIFE INSURANCE COMPANY

                     _________________________________________           Date:________________________
                     Genworth Life Insurance Company

                     By: Brian Haendiges

                     Its: President, CEO, and Chief Risk Officer


                     GENWORTH LIFE INSURANCE COMPANY OF NEW YORK

                     _________________________________________           Date:________________________
                     Genworth Life Insurance Company of New York

                     By: Brian Haendiges

                     Its: Senior Vice President and Chief Risk Officer




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            Agreed to by:

                     JUDY HALCOM

                     _________________________________________ Date:________________________
                     Judy Halcom, Named Plaintiff in Her Individual and Representative Capacities


                     HUGH PENSON

                     _________________________________________ Date:________________________
                     Hugh Penson, Named Plaintiff in His Individual and Representative Capacities


                     HAROLD CHERRY
                                                                                8/22/2021
                     _________________________________________ Date:________________________
                     Harold Cherry, Named Plaintiff in His Individual and Representative Capacities

                     RICHARD LANDINO

                     _________________________________________ Date:________________________
                     Richard Landino, Named Plaintiff in His Individual and Representative Capacities


                     GENWORTH LIFE INSURANCE COMPANY

                     _________________________________________           Date:________________________
                     Genworth Life Insurance Company

                     By: Brian Haendiges

                     Its: President, CEO, and Chief Risk Officer


                     GENWORTH LIFE INSURANCE COMPANY OF NEW YORK

                     _________________________________________           Date:________________________
                     Genworth Life Insurance Company of New York

                     By: Brian Haendiges

                     Its: Senior Vice President and Chief Risk Officer




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            Agreed to by:

                     JUDY HALCOM

                     _________________________________________ Date:________________________
                     Judy Halcom, Named Plaintiff in Her Individual and Representative Capacities


                     HUGH PENSON

                     _________________________________________ Date:________________________
                     Hugh Penson, Named Plaintiff in His Individual and Representative Capacities


                     HAROLD CHERRY

                     _________________________________________ Date:________________________
                     Harold Cherry, Named Plaintiff in His Individual and Representative Capacities

                     RICHARD LANDINO
                                                                               8/22/2021
                     _________________________________________ Date:________________________
                     Richard Landino, Named Plaintiff in His Individual and Representative Capacities


                     GENWORTH LIFE INSURANCE COMPANY

                     _________________________________________           Date:________________________
                     Genworth Life Insurance Company

                     By: Brian Haendiges

                     Its: President, CEO, and Chief Risk Officer


                     GENWORTH LIFE INSURANCE COMPANY OF NEW YORK

                     _________________________________________           Date:________________________
                     Genworth Life Insurance Company of New York

                     By: Brian Haendiges

                     Its: Senior Vice President and Chief Risk Officer




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      GOLDMAN SCARLATO & PENNY, P.C.

      _____________________________________              Date: _____________________

      By (Print Name): _________________________________

      Attorneys for Named Plaintiffs and the Putative Class


      ROBBINS GELLER RUDMAN & DOWD LLP

      _____________________________________              Date: _____________________

      By (Print Name): _________________________________

      Attorneys for Named Plaintiffs and the Putative Class


      BERGER MONTAGUE P.C.

      _____________________________________              Date: _____________________

      By (Print Name): _________________________________

      Attorneys for Named Plaintiffs and the Putative Class


      PHELAN PETTY PLC

      _____________________________________              Date: _____________________

      By (Print Name): _________________________________

      Attorneys for Named Plaintiffs and the Putative Class


      DENTONS US LLP

      _____________________________________              Date: _____________________

      By (Print Name): _________________________________

      Attorneys for Defendants Genworth Life Insurance Company and Genworth Life
      Insurance Company of New York




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                                    APPENDIX A

                                CLASS POLICIES

PCS 1 Class Policies

              State                          Policy/Certificate Form
 Alabama                   7000X
                           7020X
 Alaska                    7000X
                           7020X
 Arizona                   7000
                           7020AS
 Arkansas                  7000
                           7020
 California                7011
                           7012
                           50022K
                           7000AS
                           7000AU
                           7020B
 Colorado                  7000B
                           7001B
                           7020S
                           7022B
                           7022S
 Connecticut               50024B
                           7000AT
                           7000R
                           7001R
                           7020AA
 Connecticut Partnership   50024
                           50024B
 D. C.                     7000X
                           7001X
                           7020X
 Delaware                  7000AA
                           7020A
 Florida                   7000N
                           7001N
                           7020C




                                        33
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 Georgia                 50021D
                         7000W
                         7000Y
                         7001W
                         7020Y
 Hawaii                  7000V
                         7001V
                         7020AJ
 Idaho                   7000AL
                         7020AE
 Illinois                7000C
                         7001C
                         7020E
 Indiana                 50024A
                         7000AM
                         7020Q
 Indiana Partnership     50024A
 Iowa                    7000
                         7020K
 Kansas                  7000M
                         7020N
 Kentucky                7000Q
                         7001Q
                         7020AC
 Louisiana               7000
                         7020AU
 Maine                   50020U
                         7000AD
                         7003AE
                         7003CA
 Maryland                7000AP
                         7020BB
                         7020V
 Massachusetts           7000AR
                         7001X
                         7020X
 Michigan                7000AG
                         7020T
 Minnesota               7002MA/B
                         7002MC
                         7020AQ
                         7020BF


                                     34
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 Mississippi             7000AF
                         7020AL
 Missouri                7000F
                         7001F
                         7020G
 Montana                 7000AH
                         7020AG
 Nebraska                7000J
                         7001J
                         7020U
 Nevada                  7000AJ
                         7020AP
 New Hampshire           7000T
                         7001T
                         7020AK
 New Jersey              7000X
                         7001X
                         7020X
 New Mexico              7000AB
                         7020AR
 New York                50110
                         51000
                         51001
                         51002
 New York Partnership    50109
 North Carolina          7000A
                         7001A
                         7020J
 North Dakota            7000U
                         7001U
                         7020AH
 Ohio                    7000G
                         7001G
                         7020H
 Oklahoma                7000AC
                         7020AD
 Oregon                  7000AN
                         7020AF
 Pennsylvania            7000AX
                         7000L
                         7001M
                         7020BA
                         7020F


                                     35
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 Rhode Island            7000AK
                         7020AN
 South Carolina          50020P
                         7000P
                         7001P
                         7020BD
                         7020M
 South Dakota            7000AE
                         7020AM
 Tennessee               7000D
                         7001D
                         7020R
 Texas                   7000AV
                         7000E
                         7001E
                         7020BC
                         7020D
 Utah                    7000
                         7020AV
 Vermont                 7000
                         7020
 Virginia                7000AQ
                         7001H
                         7020P
 Washington              50020E
                         7000AW
                         7000K
                         7001K
                         7020L
 West Virginia           7000
                         7020
 Wisconsin               50022E
                         50023A
                         7020AB
                         7020BE
                         7000S
 Wyoming                 7000
                         7020




                                     36
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PCS 2 Class Policies

              State                       Policy/Certificate Form
 Alabama                 7030
                         7031
                         7032
                         7030CRT
                         7031CRT
                         7032CRT
 Alaska                  7030AZ
                         7031AZ
                         7032AV
 Arizona                 7030AM
                         7031AM
                         7032AJ
 Arkansas                7030AB
                         7031AB
                         7032AW
 California              7030AE
                         7031AE
                         7032AE
                         7034
                         7011-A
                         7012-A
                         7034A
 Colorado                7030A
                         7031A
                         7032A
 Connecticut             7030F
                         7031F
                         7032F
                         7033
 D.C.                    7030
                         7031
                         7032
 Delaware                7030B
                         7031B
                         7032B
 Florida                 7030H
                         7031H
                         7032H

                                     37
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 Georgia                 7030AL
                         7031AL
                         7032AN
 Hawaii                  7030AD
                         7031AD
                         7032AC
 Idaho                   7030AV
                         7031AU
                         7032AR
 Illinois                7030D
                         7031D
                         7032D
 Indiana                 7030AQ
                         7031AP
                         7032AL
                         50024D-7030AP
                         7032AK
 Iowa                    7030G
                         7031G
                         7032G
 Kansas                  7030AF
                         7031AF
 Kentucky                7030Q
                         7031Q
                         7032Q
 Louisiana               7030AG
                         7031AG
                         7032AF
 Maine                   7030AT
                         7031AS
                         7032AP
 Maryland                7030R
                         7031R
                         7032R
 Massachusetts           7030AA
                         7031AA
                         7030CRT
                         7031CRT
                         7032CRT
 Michigan                7030
                         7031
                                     38
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 Minnesota               7030P
                         7031P
                         7032P
 Mississippi             7030V
                         7031V
                         7032V
 Missouri                7030C
                         7031C
                         7032C
 Montana                 7030W
                         7031W
                         7032W
 Nebraska                7030K
                         7031K
                         7032K
 Nevada                  7030U
                         7031U
                         7032U
 New Hampshire           7030AX
                         7031AW
                         7032AT
 New Jersey              7030
                         7031
                         7032
                         7030CRT
                         7031CRT
                         7032CRT
 New Mexico              7030AH
                         7031AH
                         7032AD
 New York                51005
                         51006
                         51007
 New York Partnership    51008
 North Carolina          7030AW
                         7031AV
                         7032AS
 North Dakota            7031AT
                         7032AQ
                         7030AU


                                     39
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 Ohio                    7030AK
                         7031AK
                         7032AH
 Oklahoma                7030S
                         7031S
                         7032S
                         7031X
 Oregon                  7030AN
                         7031AN
 Pennsylvania            7030N
                         7031N
                         7032N
 Rhode Island            7030AS
                         7031AR
 South Carolina          7030J
                         7031J
                         7032J
 South Dakota            7030AR
                         7031AQ
                         7032AM
 Tennessee               7030E
                         7031E
                         7032E
 Texas                   7030M
                         7031M
                         7032M
 Utah                    7030T
                         7031T
                         7032T
 Vermont                 7030
                         7031AY
                         7032
 Virginia                7030L
                         7031L
                         7032L
 Washington              7030AC
                         7031AC
                         7032AB
 West Virginia           7030
                         7031
                         7032
                                     40
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 Wisconsin               7030AJ
                         7031AJ
                         7032AG
 Wyoming                 7030
                         7031
                         7032




                                     41
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                                          APPENDIX B

                                         DISCLOSURES

[Genworth Life Insurance Company’s] [Genworth Life Insurance Company of New
York’s] (“Genworth’s”) Plans for Significant Additional Future Rate Increases

As part of the Halcom class action settlement, Genworth has agreed to provide additional
information on our current plans to seek future rate increases on [PCS I/ PCS II] long term care
insurance policies. This information should assist you in evaluating which of the options best
meets your needs going forward. Based on our expectations as of [Date], we plan to request
multiple rate increases in most states. [[We plan to seek cumulative rate increases of
approximately [XXX%] on policies with lifetime benefits and [XXX%] on policies with limited
benefits in the state where your policy was issued.] or [While we do not have immediate plans to
seek rate increases on your policy and policies like yours [[that have a Stable Premium Option]
or [in the state where your policy was issued]], future premium increases are possible [after the
expiration of your premium rate guarantee period.]] or [We will not seek rate increases on your
[policy] and [policies] like yours that previously selected a Lifetime Stable Premium Option.] or
[You have previously elected a paid-up option that required no further premium payments, and
Genworth’s plans for future premium increases do not apply to your policy and policies like
yours.] or [You have previously entered a Fully Paid-Up Status and no further premiums
are due on your policy, and Genworth’s plans for future premium increases do not apply to
your policy and policies like yours.]] [[The plan to request future rate increases noted above is
in addition to a [XX]% increase [that is currently scheduled to be implemented over the next X
years]. That increase was previously allowed in your state but has not yet taken effect for your
policy. [The plans for future rate increases are in addition to any previous increase that is
currently being phased in over a number of years for your policy.]] Future rate increases are
important to Genworth’s ability to pay future claims. The inability to obtain future rate increases
may impair Genworth’s ability to do so.

As explained further below, it is possible the actual rate increases we seek will be larger or more
numerous than currently planned. As you review your special settlement options, you should
know that [A.M. Best, a global credit rating agency focused on evaluating the claims paying
ability of insurance companies, currently rates Genworth’s financial strength as C++, indicating
A.M. Best’s view that GLIC has a “marginal ability to meet [its] ongoing insurance
obligations”].

You should also know that based on our projections, rate increase requests that exceed these
percentages would be actuarially justified.

These planned rate increases will only take effect as permitted by applicable state insurance
regulators. Based on our experience, we expect that most states will continue to grant some
portion or all of the requested rate increases. However, there are some states that have capped the
allowable annual increase or placed other limits on increases on policies issued in their states.

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In states that do not grant the full increases requested, our current plan is to continue to file for
rate increases up to the full amount of our original request. [Again, these rate increases will not
affect your policy as your policy is fully paid-up and no more premiums are due.]

[Importantly, our requested rate increases may be higher or lower than our current plans, and/or
we may also seek additional future rate increases, which are not contemplated in our current
plans. Reasons for such increases may include, for example, the performance of these policies
and/or if economic conditions differ from our current projections.]




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                                                 APPENDIX C

                                    SPECIAL ELECTION OPTIONS

         Below are Special Election Options pursuant to paragraph 42 of the Settlement

Agreement. Pursuant to paragraph 42(i) of the Settlement Agreement, Special Election Options

are only available to Class Members whose policies are in force when the Special Election

Option is elected. With the exception of Options I.B.3 and I.B.4, Class Members will not be

eligible to receive and/or elect Special Election Options where the level of benefits that would be

made available by the Special Election Option would exceed the Class Member’s current level of

benefits.

 I.   Special Election Options for Class Members with Policies That Are Not in Non-
      Forfeiture Status or Fully Paid-Up Status2

         Class Members who have policies that are not in Non-Forfeiture Status or Fully Paid-Up

Status, excluding Class Members whose level of benefits are below the level of benefits required

for the any of the below Options with the exception of Options I.B.3 and I.B.4, will receive the

following Special Election Options:

         A. Paid-Up Benefit Options

             1. A settlement option consisting of two components: (a) a paid-up benefit

                  equivalent to 100% of the Class Member’s paid-in premiums through December

                  31, 2016 plus the Class Member’s paid-in premiums paid on or after January 1,

                  2021, if any, less any claims paid over the lifetime of the policy, and (b) a



2
  “Non-Forfeiture Status” means a policy status where the Policyholder has exercised a “Non-Forfeiture Option.”
“Non-Forfeiture Options” include, but are not limited to, benefits that may have been made available pursuant to: an
optional Non-Forfeiture Benefit Rider; the Limited Benefits Upon Lapse Due to a Substantial Premium Increase
(also called a Contingent Non-forfeiture Benefit); the Limited Non-Forfeiture Option; the Optional Limited Benefit
Endorsement; or the Limited Benefit with Payment for Partial Policy Disposition.

“Fully Paid-Up Status” means a status whereby a Class Policy is continued in full force and effect and no further
premiums are owed. A Class Policy in Fully Paid-Up Status does not include a Class Policy that is in a Non-
Forfeiture Status.
                                                        44
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               damages payment equivalent to premiums paid during the time period beginning

               January 1, 2017 through December 31, 2020. The total paid-up benefit available

               under this option shall not exceed the Class Member’s current actual lifetime

               benefit at the time his or her election is processed less the Class Member’s

               damages payment under this option.

           2. A settlement option consisting of a paid-up benefit option equivalent to two times

               the difference between the Class Member’s paid-in premiums to date less claims

               paid to the Class Member to date. The total paid-up benefit amount available

               under this option is capped at the Class Member’s current actual lifetime benefit

               at the time his or her election is processed. This option will not include any

               damages payment.

       B. Reduced Benefit Options (“RBOs”) for Class Members Who Currently Do Not
          Have Stable Premium Option (“SPO”) or Lifetime Stable Premium Option
          (“LSPO”) Policies

       Class Members who currently have in force policies, excluding (1) Class Members who

previously elected a SPO or LSPO, (2) Class Members whose level of benefits are below the

level of benefits required for any of the below Options with the exception of Options I.B.3 and

I.B.4, and/or (3) Class Members with Partnership Status whose election of a defined option

would cause them to lose Partnership Status, will have the following options:

           1. For Class Members with policies with a Benefit Inflation Option (“BIO”), a

               settlement option consisting of two components: (a) a change in the Class

               Member’s policy benefits that removes BIO with a reduction of their Daily

               Benefit Amount (“DBA”) to their original DBA (i.e., the DBA that he or she had




                                                45
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                 prior to any BIO increases)3 for a reduced annual premium, and (b) a damages

                 payment equal to four times the differential between the Class Member’s current

                 (as billed) annual premium for his or her existing policy and the current annual

                 premium for the new reduced level of benefits.

             2. For Class Members with lifetime benefit period policies and/or who have

                 Partnership Plan policies, a settlement option consisting of two components: (a) a

                 reduction of the Class Member’s existing benefit period to the next lowest benefit

                 option available (in the case for Class Members with lifetime benefit period

                 policies, a 6-year benefit period) and a reduction to his or her current DBA (after

                 benefit inflation) by 25%, for a reduced annual premium, and (b) a damages

                 payment equal to four times the differential between the Class Member’s current

                 (as billed) annual premium for his or her existing policy and the current annual

                 premium for the new reduced level of benefits.

             3. For Class Members whose policies are regulated by States that have approved the

                 LSPO, a LSPO with an extended elimination period that will maintain the Class

                 Member’s premiums at a stable rate for the life of his or her policy and consist of

                 two additional components: (a) a change to his or her existing benefits reducing

                 his or her DBA by 30%, and (b) a damages payment equal to four times the

                 differential between the Class Member’s current (as billed) annual premium and

                 the current annual premium for the new LSPO, or $1,000, whichever is higher.4

             4. For Class Members whose policies are regulated by States that have approved the

                 SPO but not the LSPO, a SPO with an extended elimination period that will


3
  In some cases, Class Members may have made changes to their Class Policies resulting in a recalculated original
DBA, in which case, the recalculated DBA will be used in connection with this Special Election Option.
4
  In some circumstances, the premiums associated with this LSPO may be higher than the Class Member’s current
premiums.
                                                       46
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                 maintain the Class Member’s premiums at a stable rate until at least January 1,

                 2028 and consist of two additional components: (a) a reduction of the Class

                 Member’s DBA by 30%, and (b) a damages payment equal to four times the

                 differential between the Class Member’s current (as billed) annual premium and

                 the current annual premium for the new SPO with the reduced level of benefits, or

                 $1,000, whichever is higher.5

          C. Reduced Benefit Options (“RBOs”) for Class Members Who Currently Have
             Lifetime Stable Premium Option (“LSPO”) or Stable Premium Option (“SPO”)
             Policies

             1. Class Members who currently have LSPO or SPO Policies will have an option

                 that maintains their LSPO or SPO status and consists of two additional

                 components: (a) a reduction of the Class Member’s DBA by 40%, and (b) a

                 damages payment equal to four times the differential between the Class Member’s

                 current (as billed) annual premium and the current annual premium for the new

                 LSPO or SPO with the reduced level of benefits.

    II.   Special Election Options for Class Members in Fully Paid-Up Status

          Class Members in a Fully Paid-Up Status will receive the following Special Election

          Options:

             1. A settlement option consisting of two components: (a) a paid-up benefit

                 equivalent to 100% of the Class Member’s paid-in premiums through December

                 31, 2016 plus the Class Member’s paid-in premiums paid on or after January 1,

                 2021, if any, less any claims paid over the lifetime of the policy, and (b) a

                 damages payment equivalent to four times the Class Member’s last annual




5
  In some circumstances, the premiums associated with this SPO may be higher than the Class Member’s current
premiums.
                                                      47
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               premium when he or she was in premium-paying status. The total paid-up benefit

               available under this option shall not exceed the Class Member’s current actual

               lifetime benefit at the time his or her election is processed less the Class

               Member’s damages payment under this option.

           2. A settlement option consisting of two components: (a) a reduction of the Class

               Member’s existing benefit period to the next lowest benefit option available (in

               the case for Class Members in a Fully Paid-Up Status that have lifetime benefit

               period policies, a 6-year benefit period) and a reduction to his or her current DBA

               (after benefit inflation) by 25%, and (b) a damages payment equal to four times

               the differential between (i) what the Class Member’s annual premium for his or

               her existing policy would be as of January 1, 2022 if the Class Member were still

               in a premium-paying status, and (ii) what the Class Member’s annual premium for

               his or her existing policy would be as of January 1, 2022 for the new reduced

               level of benefits if the Class Member were still in a premium paying status.

 III.   Special Election Option for Class Members in Non-Forfeiture Status

        1. Class Members who were on Non-Forfeiture Status after January 1, 2014 but prior to

           making an election in this settlement will be provided with an option to elect a

           damages payment of $2,500 and retain their current paid-up benefit.




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 IV.   Special Election Options for Class Members in States That Do Not Allow the
       Disclosure or any Applicable Special Election Options To Be Provided

       To the extent that any State refuses to allow any form of the Disclosures and the Special

Elections agreed to in the underlying Agreement, the Class Members in that State will be

offered:

           1. For Class Members whose policies are still in force, an option to elect a $100

              credit against future Class Policy premiums; or

           2. For Class Members whose Class Policies are in Non-Forfeiture Status only, an

              option to elect a $100 one-time credit to the Class Members’ current benefit pool.




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                                 APPENDIX D


                         SPECIAL ELECTION LETTER




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TEMPLATE
                                        YOUR ACTION IS REQUIRED
                                        You could get a cash payment up to $[X.XX] and reduce or
                                        eliminate your premiums by adjusting your policy’s coverage
                                        as offered below!

                                        Response required by [], 202[].
Dear [Name],

Your long term care insurance policy is part of the class action settlement in Halcom et al. v.
Genworth Life Insurance Company et al., Civil Action No. 3:21-CV-19-REP pending in the United
States District Court of the Eastern District of Virginia. This letter includes information about your
rights under the settlement. It is not a rate increase notice.

<if in force with Non-Forfeiture Status>
[You have previously elected a paid-up option that required no further premium payments. As part of
this settlement, you can elect a damages payment of $2,500, and retain your current paid-up benefit.
Nothing about your current coverage will change if you elect to receive the payment.]

<if in Fully Paid-Up Status>
[Your policy is fully paid-up and requires no further premium payments. As part of this
settlement, we are making options available to you that allow you to reduce your current level of
benefits in return for a damages payment. Please keep in mind that you are not required to
choose any of these options to reduce your benefits, and you may keep your policy as is and
not be required to make any further premium payments. Before making an election or deciding to
keep your policy as is, we strongly encourage you to discuss the settlement options and the valuable
coverage offered by your fully paid-up policy with your financial advisor, family members, or a
member of our Customer Service Team by calling [800 883.1127]].

<if in force, NOT with Non-Forfeiture or Fully Paid-Up Status>
[As a result of the settlement, we are making special settlement options available for you to reduce or
eliminate future premiums in return for adjusting your policy’s benefits, while still providing meaningful
coverage. Most options also provide for a one-time cash payment to you. You are not required to
choose any of these options, and you may instead keep your policy as is.]


<if additional increases planned>
[As you evaluate these choices, please be aware that as of [mm/dd/yyyy], we plan to seek cumulative
rate increases of approximately [XXX%] on policies with lifetime benefits and [XXX%] on policies with
limited benefits in the state where your policy was issued. Any future premium rate increase will be
subject to approval by the state in which the [policy] was issued and, if approved, may be approved
for less than the amount requested by Genworth. If you decide to keep your existing coverage, or if
you decide to select a settlement option that requires you to continue paying premium, your policy will
be subject to premium rate increases in the future. Please also review the important disclosures
provided as part of the settlement about our premium rate increase plans and our reasons for seeking
such increases later in this letter.]

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<if LSPO>
[As you evaluate these choices, please be aware that because you have previously elected a Lifetime
Stable Premium Option, we will not seek further premium rate increases on your policy.]


<if no additional increases planned or SPO>
[As you evaluate these choices, please be aware that we do not have immediate plans to seek
premium rate increases on your [policy] and policies like yours [<if SPO> that have a Stable Premium
Option] [<if no additional increases planned in state> in the state where your [policy] was issued],
although future premium rate increases are possible [<if SPO> after the expiration of your premium
rate guarantee period]. Any future premium rate increase will be subject to approval by the state in
which the policy was issued and, if approved, may be approved for less than the amount requested
by Genworth. If you decide to keep your existing coverage or if you decide to select a settlement
option that requires you to continue paying premium, your policy may be subject to premium rate
increases in the future.]

<if Class Member has not already been notified of a new approved scheduled rate increase
and one is pending>
[In addition to the future rate increase plans, you should also consider that a new XX% premium rate
increase is scheduled to take effect on your policy on XX/XX/XXXX [and will be phased in over X
years].]

<if a reduced paid-up option or LSPO available>
[Any future premium rate increases would not be applicable if you choose a settlement option with a
reduced paid-up benefit (Option 1 [or [Option 2]] [<if LSPO available>] or the Lifetime SPO Settlement
Option).]

Your options are outlined below and are only available to you in this settlement. These options are
separate and different from any reduced benefit options that may be available in connection with a
premium rate increase. As you evaluate these options, you should consider if your circumstances
have changed since you purchased your policy and review the Important Information about Your
Settlement Options included with this letter.

<representative template options to be shown for Class Members in premium-paying status, if
available>
[Options 1 and 2:

Pay no more premiums and receive a reduced paid-up benefit amount, which would be available to
pay your future claims. Option 1 includes an enhanced paid-up benefit equal to twice the difference
between the total amount of premiums you have paid and the amount of claims payments made to
you, if any. Option 2 provides a lower basic paid-up benefit (the amount of premiums you’ve paid
through December 31, 2016 plus premiums you have paid on or after January 1, 2021, less any
claims payments made to you to date, if any), but it also provides for a one-time cash payment of
[###]. For details on these paid-up benefits, see the Important Information about your Settlement
Options included with this letter. If you choose either of these options, you will not be subject to any
future rate increases.


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Options 3, 4 and 5:

These options provide for a one-time cash payment to you. They may also provide for reduced
premiums in return for certain reductions to your policy’s current benefits. Although your premiums
and benefits will be reduced under these options, your new reduced premiums would still be subject
to future rate increases. Option 3 reduces your premiums, removes the Inflation Benefit, which
provides for certain annual benefit increases, and reduces your Daily Benefit Amount to your original
Daily Benefit Amount.1 Option 4 reduces your premiums and lowers your existing benefit period and
reduces your current Daily Benefit Amount by 25%. Option 5 provides <For Class Members who do
not already have Lifetime Stable Premium Option or Stable Premium Option with Class
Policies issued by States that have approved Lifetime Stable Premium Option or Stable
Premium Option as an offering> [[a Lifetime Stable Premium Option with a 30% reduction in your
current Daily Benefit Amount, a three-year Benefit Period, an extended Elimination Period, a 1%
Compound Inflation Benefit, and a guarantee that your premiums will never increase again] or [a
Stable Premium Option with a 30% reduction in your current Daily Benefit Amount, a three-year
Benefit Period, an extended Elimination Period, a 1% Compound Inflation Benefit, and a guarantee
that your premiums will not increase until at least January 1, 2028]]. <For Class Members with a
Lifetime Stable Premium Option or Stable Premium Option> [an option to keep your [Lifetime]
Stable Premium Option and reduce your current Daily Benefit Amount by 40%.].]

<representative template options to be shown for Class Members in Fully-Paid Up status, if
available>
[Option 1 provides a basic paid-up benefit (the amount of premiums you’ve paid through December
31, 2016 plus premiums you have paid on or after January 1, 2021, less any claims payments made
to you to date, if any), but it also provides for a one-time cash payment of [###]. For details on this
paid-up benefit, see the Important Information about your Settlement Options included with this letter.

Option 2 lowers your existing benefit period and reduces your current Daily Benefit Amount by 25%,
but it also provides for a one-time cash payment of [###].]
If you wish to choose one of the special settlement options you MUST sign and return by mail
(postmarked by the return deadline), fax, or email the completed enclosed form indicating your choice
by: [MONTH DAY, YEAR]. If you want to keep your policy as is, you need not do anything. Please
note that if we don’t hear from you by [MONTH DAY, YEAR], your policy will stay the same and you
will no longer be entitled to these special settlement options, including those that result in a payment
to you.




1 If you have made changes to your policy that resulted in a recalculated original Daily Benefit Amount, the recalculated
original Daily Benefit Amount will be used in connection with this Special Election Option.
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The chart below shows how each of these options compares to your current premiums and benefits.*
For additional definitions of terms in the chart, please see the included Important Information about
Your Settlement Options.

                 Your Current      Option 1           Option 2            Option 3           Option 4               Option 5
                   Beneﬁts        Enhanced             Basic        Remove Inflation      Reduce Benefit       [Lifetime]SPO -Set
                                                                       Benefit &            Period from         Level of Reduced
                                   Reduced        Reduced Paid-Up
                                                       Beneﬁt     Revert to Original      [Lifetime] to [x]       Benefits, plus
                                   Paid-Up                          Beneﬁt Levels         Years & Reduce         Reduced Daily
                                   Benefit           Plus Cash                            Lifetime & Daily     Benefit Amount, a
                                                     Payment      Plus Cash Payment       Benefit Amount,      [Lifetime][Limited]
                                                                                             Plus Cash        Premium Guarantee
                                                                                             Payment          Plus Cash Payment


Cash                 N/A             None           $[9,875.95]          $[5,503.96]        $[2,011.76]           $[6,368.36]
Payment

Daily Benefit      $[270.38]       $[270.38]         $[270.38]            $[107 .00]         $[202.79]             $[189.27]
Amount

Inﬂation          [Compound         [None]            [None]               [None]           [Compound          [Compound [1]%]
Benefit              [5]%]                                                                     [5]%]

Elimination        [#] Days        [#] Days       [#] Days Home        [#] Days Home      [#] Days Home       [#] Days Home Care
Period           Home Care or    Home Care or     Care or [#] Days     Care or [#] Days   Care or [#] Days     or [#] Days Facility
                   [#] Days        [#] Days        Facility Care        Facility Care      Facility Care               Care
                 Facility Care   Facility Care

Beneﬁt            [Unlimited]        [N/A]             [N/A]             [Unlimited]          [6 years]             [3 years]
Period

Total Lifetime    [Unlimited]    $[61,886.91]       $[21,067.51]        [Unlimited][**]   $[444,110.10][**]    $[207,250.65][**]
Beneﬁt

[Annual           $[2,792.19]    Pay no further    Pay no further        $[1,416.20]        $[2,289.25]           $[1,200.10]
Premium]                          premiums.         premiums.

*Benefits, premiums and payment amounts in this chart are subject to confirmation and may change based on changes
you make to your policy, including, for example, your receipt of any claim payments, your payment of any additional
premium, or changes you make to your benefits. For more details, see the Important Information about your Settlement
Options included with this letter.

**This is the amount available to you for future claims. It is the Total Lifetime Benefit less past claims paid under the
policy.

Settlement options are only available to you if your policy is still in force or in non-forfeiture status at
the time your election is postmarked for mailing or sent to us by fax or email. If your policy lapses but
is still in the period during which your policy can be automatically reinstated by paying any past-due
premium, you will need to reinstate your policy by paying the past-due premium before you may
select one of these options.

     We encourage you to discuss the options with your ﬁnancial advisor, family
    members, or a member of our Customer Service Team by calling [800 883.1127].




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                                                           YOUR ACTION IS REQUIRED

[Genworth Life Insurance Company’s] [Genworth Life Insurance Company of New York’s]
(“Genworth’s”) Plans for Signiﬁcant Additional Future Rate Increases

As part of the Halcom class action settlement, we have agreed to provide additional information on
our current plans to seek future rate increases on [PCS I/ PCS II] long term care insurance policies.
This information should assist you in evaluating which of the options best meets your needs going
forward. Based on our expectations as of [Date], we plan to request multiple rate increases in most
states. [[We plan to seek cumulative rate increases of approximately [XXX%] on policies with lifetime
benefits and [XXX%] on policies with limited benefits in the state where your policy was issued.] or
[While we do not have immediate plans to seek rate increases on your policy and policies like yours
[[that have a Stable Premium Option] or [in the state where your policy was issued]], future premium
increases are possible [after the expiration of your premium rate guarantee period.]] or [We will not
seek rate increases on your [policy] and [policies] like yours that previously selected a Lifetime Stable
Premium Option.] or [You previously elected a paid-up option that requires no further premium
payments, and Genworth’s plans for future premium increases do not apply to your policy and
policies like yours. or [You have previously entered a Fully Paid-Up Status and no further
premiums are due on your policy, and Genworth’s plans for future premium increases do not
apply to your policy and policies like yours.]] [[The plan to request future rate increases noted
above is in addition to a [XX]% increase [that is currently scheduled to be implemented over the next
X years]. That increase was previously allowed in your state but has not yet taken effect for your
policy. [The plans for future rate increases are in addition to any previous increase that is currently
being phased in over a number of years for your policy.]]. Future rate increases are important to
Genworth’s ability to pay future claims. The inability to obtain future rate increases may impair
Genworth’s ability to do so.

As explained further below, it is possible the actual rate increases we seek will be larger or more
numerous than currently planned. As you review your special settlement options, you should know
that [A.M. Best, a global credit rating agency focused on evaluating the claims paying ability of
insurance companies, currently rates Genworth’s financial strength as C++, indicating A.M. Best’s
view that Genworth has a “marginal ability to meet [its] ongoing insurance obligations”].

You should also know that based on our projections, rate increase requests that exceed these
percentages would be actuarially justified.

These planned rate increases will only take effect as permitted by applicable state insurance
regulators. Based on our experience, we expect that most states will continue to grant some portion
or all of the requested rate increases. However, there are some states that have capped the
allowable annual increase or placed other limits on increases on policies issued in their states. In
states that do not grant the full increases requested, our current plan is to continue to file for rate
increases up to the full amount of our original request. [Again, these rate increases will not affect your
policy as your policy is fully paid-up and no more premiums are due.]


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[Importantly, our requested rate increases may be higher or lower than our current plans,
and/or we may also seek additional future rate increases, which are not contemplated in our
current plans. Reasons for such increases may include, for example, the performance of
these policies and/or if economic conditions diﬀer from our current projections.]

                                           Sincerely,

                                           []




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                                                                   Important Information about Your
                                                                   Settlement Options
Genworth Life                                                         Genworth Life Insurance Company and
                                                                   from
Genworth Life of New York
Administrative Office:
                                                                   Genworth Life Insurance Company of New York
3100 Albert Lankford Drive
Lynchburg, VA 24501                                                Page 1 of [m]


Definitions
These are summary definitions of terms used in the accompanying Halcom class action settlement letter, the Coverage Options Form, and this important information document.
Please see your policy for complete definitions and details.

    Cash Payment            The payment you will receive as a result of selecting a special Settlement Option that provides for a cash payment. The payment arises from the class
                            action settlement and is not a policy benefit.

    [Annual] Premium        This is the amount you must pay [every year], [twice a year], [each quarter], or [each month] in a timely manner to keep your policy in effect. If you select
                            a settlement option with reduced premiums, your new premium will generally take effect as of the beginning of the next policy month after we receive
                            your signed selection. Each policy month generally begins on the same day of the month as your policy anniversary date. Any future rate increases will
                            be based on your new reduced premium amount. <If Policy is in a Fully Paid-up or Non-forfeiture Status> [Since your policy is paid-up [under a non-
                            forfeiture benefit], premiums are not required and future increases will not apply to your policy.]

    Daily Benefit            The daily limit on the combined total for all benefit payments subject to the Daily Benefit Amount. It is called the “Daily Payment Maximum” in the policy.
    Amount (DBA)
    Inﬂation Benefit         A benefit that increases your policy’s benefits each year as shown in your policy. In the policy, it is called a “Benefit Increases” provision.

    Insured Person           The policyholder named in the policy schedule, and another insured person, if any, who is also named in the policy schedule.

    Elimination Period      This is generally the number of days for which each Insured Person must incur expenses that qualify for payments under policy benefits subject to the
                            Elimination Period, before we will commence paying benefits. See the policy [<if LSPO or SPO Special Election Option is available to Class Member>
                            and the sample [<if LSPO>Lifetime] Stable Premium option endorsement] for complete details on the Elimination Period.

    Beneﬁt Period           This is generally the minimum period of years your policy will provide coverage. While the Benefit Period is not a policy definition, it is used to determine
                            your policy’s Total Lifetime Benefit.

    Total Lifetime           The combined total amount we will pay as benefits under this policy. It is also called the “Lifetime Payment Maximum.”
    Beneﬁt


Benefit values are approximate
Benefit values presented in the accompanying letter and Coverage Options Form are approximate due to rounding and certain timing considerations. If you select one of the
settlement options, you will receive a written confirmation from us showing your new benefit values. Covered benefits payable at the time of a claim will be calculated in accordance
with your policy.

Considerations related to adjusting your coverage
All of the settlement options available to you may not be of equal value.
If you have a Partnership policy, reducing your coverage may result in a loss of Partnership status, a change in your asset protection type, and may reduce your overall protection.
Benefits are payable only when you meet the terms and conditions for receiving benefits under your policy.
If you remove an Inflation Benefit from your policy, your Daily Benefit Amount and Total Lifetime Benefit will not increase.
Your Benefit Period is the period of time that is used to calculate the Total Lifetime Benefit. Your coverage is based on this Total Lifetime Benefit, not a certain period of time. If your
Daily Benefit Amount and/or the Benefit Period are reduced, the Total Lifetime Benefit payable under your policy will automatically be reduced because the policy maximum is a
function of the Daily Benefit Amount and the Benefit Period. In addition, other benefit amounts may be reduced.

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Adjustments to premium
If you select a settlement option that eliminates an Inflation Benefit or otherwise reduces your coverage, for all options other than a reduced paid-up benefit option, your new
premium will be determined as follows: Your new premium will be the same as what it would have been (at the time your settlement option becomes effective and including all
premium increases) if your policy had included the reduced benefits since it first took effect. This premium is subject to change in accordance with the terms of your policy.

Premium payments by automatic withdrawal/third-party account/online banking
If you are using automatic withdrawals, the new required premium will be automatically deducted from your bank checking account. If you are using a third-party account, or online
banking to pay your premiums, please be sure to make the proper adjustments and arrangements for paying the new required premium amount.

Total Lifetime Benefit is reduced by benefit payments
Any benefits paid or payable are deducted from the reduced Total Lifetime Benefit. This means the combined maximum policy benefits available for all insureds under the policy
will be the new Total Lifetime Benefit less claims paid under the policy. Therefore, if you have previously been on claim, carefully consider whether reducing your benefits is
appropriate for your circumstances. [(Note that the new Total Lifetime Benefit for any reduced paid-up option will already reflect the reduction of past claims.)]

<if in premium-paying status> Selecting an Enhanced or Basic Reduced Paid-up Benefit

If you select a settlement option with a reduced paid-up benefit, your Total Lifetime Benefit will be reduced, any Inflation Benefit provision will be removed from your policy, and
you will no longer have to pay policy premiums. Both the enhanced and basic reduced paid-up benefit options are types of Nonforfeiture Benefits, and will be treated as such
under the terms of your policy or policies.
For the settlement option that includes the enhanced reduced paid-up benefit, and no cash payout, the new Total Lifetime Benefit will equal 200% of the difference between the
sum of all premiums paid under the policy (excluding any waived premium), and the amount of all benefits paid or payable under the policy for expenses incurred prior to the
date the settlement option takes effect. The total paid-up benefit amount available under this option is capped at the Class Member’s current actual
lifetime benefit at the time his or her election is processed. This option will not include any damages payment.
[For the settlement option that includes the basic reduced paid-up benefit, as well as a cash payout, the new Total Lifetime Benefit will equal 100% of the sum of all premiums
paid under the policy (excluding any waived premium) through December 31, 2016 and on or after January 1, 2021, minus the amount of all benefits paid or payable under the
policy for expenses incurred prior to the date the settlement option takes effect]. The total paid-up benefit available under this option shall not exceed the
Class Member’s actual lifetime benefit at the time his or her election is processed less the Class Member’s damages payment under this
option.
Continuation of the policy under the enhanced reduced paid-up benefit [or the basic reduced paid-up benefit] is subject to the following conditions: (a) the policy will be continued
under a paid-up status (with no further premium becoming due), subject to all of the terms and conditions of the policy; (b) except as stated below, and subject to the reduced
Total Lifetime Benefit, the policy will have the same benefits, Elimination Period, and other policy limits in effect on the date the settlement option takes effect, (c) any Inflation
Benefit that was in effect under the policy will no longer apply, which means the new Total Lifetime Benefit will not increase, and (d) coverage will end and the policy will
terminate when the total benefits paid under the policy after the settlement option takes effect equals the Total Lifetime Benefit for the reduced paid-up benefit as of the date the
settlement option takes effect.

Please note: selecting a reduced paid-up benefit will significantly reduce the policy benefits available to you.

<if in Fully Paid-Up Status> Selecting a Basic Reduced Paid-up Benefit
If you select a settlement option with a paid-up benefit, your Total Lifetime Benefit will be reduced and any Inflation Benefit provision will be removed from your policy. The
reduced paid-up benefit option is a type of Nonforfeiture Benefit, and will be treated as such under the terms of your policy or policies.
[The new Total Lifetime Benefit will equal 100% of the sum of all premiums paid under the policy (excluding any waived premium) through December 31 and on or after January
1, 2021, minus the amount of all benefits paid or payable under the policy for expenses incurred prior to the date the settlement option takes effect. The total paid-up
benefit available under this option shall not exceed the Class Member’s actual lifetime benefit at the time his or her election is processed less
the Class Member’s damages payment under this option. Continuation of the policy under the basic reduced paid-up benefit is subject to the following conditions:
(a) the policy will be continued under a paid-up status (with no further premium becoming due), subject to all of the terms and conditions of the policy; (b) except as stated below,
and subject to the reduced Total Lifetime Benefit, the policy will have the same benefits, Elimination Period, and other policy limits in effect on the date the settlement option
takes effect, (c) any Inflation Benefit that was in effect under the policy will no longer apply, which means the new Total Lifetime Benefit will not increase, and (d) coverage will
end and the policy will terminate when the total benefits paid under the policy after the settlement option takes effect equals the Total Lifetime Benefit for the reduced paid-up
benefit as of the date the settlement option takes effect.




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|<if LSPO or SPO Special Election Option is available> Understanding the [<if LSPO> Lifetime] Stable Premium option

The [<if LSPO>Lifetime] Stable Premium option is designed to mitigate the impact of future increases by changing your benefits, while also
guaranteeing that [<if LSPO>you will not have another premium rate increase for the life of your [policy]<else>your new premium will not
increase until at least [January 1, 2028].] [<if LSPO>By electing the Lifetime Stable Premium option, your Policy changes from guaranteed
renewable to non-cancellable, meaning that, subject to the terms of the [policy], you will have the right to continue the [policy] as long as you pay
the required premium on time, we cannot change any terms of the [policy] on our own, and your new premium will never change as the result of
a future premium rate increase.]

Impact to your benefits. This option will provide a one percent (1%) compound benefit increase going forward, a current Daily Benefit Amount
that is reduced by 30%, an extended Elimination Period of [180] days for facility care and [90] days for home care, and a reduced Total Lifetime
Benefit that will result in a three-year Benefit Period. As part of the calculation of your new resulting premium, your premium will be adjusted in
consideration of this retained benefit. Please review all of the documents in this package, in particular the Coverage Options page and the
sample endorsement, for more details regarding how your benefits and premium will change under the [<if LSPO>Lifetime] Stable Premium
option.

In accordance with your [policy], if you have previously been on claim, benefits that have already been paid under your [policy] will count toward
your new lifetime payment maximum. Therefore, past claims will reduce the amount of the new lifetime maximum available to you for future
claims. The Coverage Options form already shows the amount of the new lifetime maximum that would remain, as of the date of this letter, after
deducting past claims.

Similarly, in accordance with your [policy], any days which have already satisfied your Elimination Period will continue to satisfy your new
Elimination Period under the [<if LSPO>Lifetime] Stable Premium option.

Selection of a special settlement option cannot be reversed
Once you send us a signed request to select a settlement option, you cannot reverse your selection. This means we will process any premium and/or benefit reductions
for the settlement option and you will not be able to revert back to the premium and benefits you had before your selection. For policies that insure both the policyowner and
another Insured Person, the selection of a settlement option cannot be reversed once both the policyowner and other Insured Person send us a signed request to select the
settlement option. Because a settlement option cannot be reversed once selected, please carefully consider whether it is right for you before you send us your selection.

Taxes
Your policy, including any reduced benefits associated with the selection of a settlement option, is intended to be a federally tax qualified long term care insurance contract under
Section 7702B(b) of the Internal Revenue Code of 1986, as amended.
It is your responsibility to assess any potential tax consequences of selecting a settlement option, including, for example, whether any cash payment you receive is taxable.
Please consult with your tax advisors. Genworth cannot provide tax advice.

Unearned Premium

We will refund any premiums you have paid on your Class Policy that corresponds to the time period after your new reduced paid-up benefit becomes effective, if any. Such refunded
premium will not be used to calculate your new reduced paid-up benefit, and, as a result, your actual reduced paid-up benefit may be less than the reduced paid-up benefits in your
Special Election Letter.

For more information
If you have questions for us about the settlement options available to you, you may call our Genworth Customer Service Team at [800-883-1127].
For information about the cost of long term care in your area, and to see how those costs may change in the future, visit our 20[##] Cost of Care Survey at [].




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                                                                              Coverage Options Form

 THREE WAYS TO CHOOSE
 Email: []                                             Fax: []                                          Mail: Check a box below. Tear off and return to [].
                                                   Option 1                Option 2              Option 3
                          Your Current                                                        Remove Inflation               Option 4                  Option 5
                                                  Enhanced                  Basic
                            Beneﬁts                                                              Benefit &              Reduce Benefit           [Lifetime]SPO -Set
                                                   Reduced             Reduced Paid-Up
                                                                                            Revert to Original            Period from             Level of Reduced
                                                Paid-Up Benefit             Beneﬁt
                                                                                              Beneﬁt Levels             [Lifetime] to [x]      Benefits, plus Reduce d
                                                                          Plus Cash
                                                                                            Plus Cash Payment           Years & Reduce         Daily Benefit Amount,
                                                                          Payment
                                                                                                                        Lifetime & Daily         [Lifetime][Limited]
                                                                                                                       Benefit Amount,          Premium Guarantee
                                                                                                                      Plus Cash Payment         Plus Cash Payment
Cash Payment                    N/A                   None                $[9,875.95]           $[5,503.96]                 $[2,011.76]              $[6,368.36]
Daily Benefit                $[270.38]              $[270.38]              $[270.38]             $[107 .00]                  $[202.79]                $[189.27]
Amount


Inﬂation Benefit         [Compound [5]%]             [None]                 [None]                    [None]             [Compound [5]%]          [Compound [1]%]

Elimination Period      [#] Days Home Care [#] Days Home Care [#] Days Home Care [#] Days Home Care [#] Days Home Care or [#] Days Home Care or
                         or [#] Days Facility or [#] Days Facility or [#] Days Facility or [#] Days Facility [#] Days Facility Care [#] Days Facility Care
                                 Care                 Care                 Care                 Care
Beneﬁt Period                [Unlimited]              [N/A]                  [N/A]               [Unlimited]                 [6 years]                 [3 years]

Total Lifetime               [Unlimited]          $[61,886.91]           $[21,067.51]            [Unlimited]               $[444,110.10]            $[207,250.65]
Beneﬁt

[Annual Premium]            $[2,792.19]           Pay no further        Pay no further          $[1,416.20]                 $[2,289.25]              $[1,200.10]
                                                   premiums.             premiums.

  No Further Premiums
  Option 1: Paid-up benefit of 2X difference between premium paid less claims payments
  Option 2: Paid-up benefit of 1X premiums paid through 12/31/2016 and on or after 1/1/2021, less claims payments; get a cash payment of [####]
  Reduced Premiums
  Option 3: Remove inflation benefit; benefit maximums revert to original levels; get a cash payment of [####]
  Option 4: Reduce benefit period; reduce Daily Benefit Amount by 25%; get a cash payment of [####]
  Option 5: [Maintain your premium at a stable rate for [[the lifetime of your policy][until 2028]] and reduce your Daily Benefit Amount by 30%; get a cash
  payment of [####].
  Please read all documents before making a decision. If you don't want to choose any of these options, you don't need to do anything and your
  policy will stay the same. To choose one of these options, we must hear from you by [MONTH DAY, YEAR]. Otherwise, your policy will stay the
  same and you will no longer be entitled to these special settlement options. Questions? Call [(XXX) XXX-XXXX]

ACT NOW: Your immediate action is required by [Date].
Option 1: Enhanced Reduced Paid-Up Benefit
Option 2: Basic Reduced Paid-Up Benefit Plus, Cash Payment
Option 3: Remove Inflation Benefit, Revert to Original Benefit Level, Plus Cash Payment
Option 4: Reduce Benefit Period, Reduce Daily Benefit Amount by 25%, Plus Cash Payment                         Policyholder: [Mr. John Smith]
Option 5: [Lifetime] Stable Premium Option, Reduce Daily Benefit Amount by 30%, Plus Cash                      Date: [MONTH DAY, YEAR]
Payment
                                                                                                               Policy Number: [123456]
Please return in the enclosed envelope.                                                                        Signature: __________________________________
By signing, you represent and agree that (1) we are authorized to process the requested                        2nd Signature*: ______________________________
change to your policy, (2) a request for a settlement option cannot be reversed once requested,
(3) benefits and premiums quoted above are subject to confirmation and may change, (4) you                     Phone Number: _____________________________
have read and understand the information on this form and the enclosed documents, and (5)
complete terms are in your policy. You do not need to return this form if you are keeping your                 Email: _____________________________________
current coverage. If changing your coverage to one of the options above, please check the blue
                                                                                                               Address: ____________________________________
box to indicate your choice, then sign and return this form by email, fax, or mail [in the enclosed
envelope] by: [##/##/####]                                                                                     * If the policy insures a person in addition to the policy
                                                                                                               owner, then both the policy owner and the other insured
                                                                                                               person must sign the form to select a special settlement
                                                                                                               option.
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                                          APPENDIX E

   NOTICE OF PENDENCY OF CLASS ACTION AND PROPOSED SETTLEMENT

                Judy Halcom, et al. v. Genworth Life Insurance Company, et al.

 United States District Court for the Eastern District of Virginia (Richmond Division), Case No.
                                       3:21-cv-00019-REP

TO: POLICYHOLDERS OF GENWORTH LIFE INSURANCE COMPANY (“GLIC”) AND
GENWORTH LIFE INSURANCE COMPANY OF NEW YORK (“GLICNY”) (collectively
GLIC and GLICNY are referred to as “Genworth”) LONG-TERM CARE INSURANCE
POLICIES ON POLICY FORMS OR CERTIFICATES IDENTIFIED IN THE ATTACHED
APPENDIX 1 (the “Class Policies”) IN FORCE ON OR AFTER JANUARY 1, 2012 WHOSE
POLICIES HAVE NOT LAPSED OR BEEN TERMINATED (AND NOT REINSTATED)
AND/OR, PRIOR TO JANUARY 1, 2014, WERE NOT IN NON-FORFEITURE OR FULLY
PAID-UP STATUS

YOU ARE HEREBY NOTIFIED that a proposed settlement of the above-entitled class action
lawsuit pending in the United States District Court of the Eastern District of Virginia (“the Class
Action”) has been reached between the parties, and on [DATE], the settlement was granted
preliminary approval by the Court supervising the lawsuit.

THE PURPOSE OF THIS NOTICE is to describe the Class Action, to inform you of the
proposed settlement terms, and to inform you of your potential rights and options in connection
with the settlement. You are encouraged to visit the Settlement website at
www.PCSLongTermCareInsuranceSettlement.com for the precise terms and conditions of the
settlement, the complete Settlement Agreement, pleading and documents on file in this case, and
other information about this Settlement, including important dates, and a full description of the
Settlement options you may be offered if the Court approves the Settlement.

The settlement will resolve all claims in the above-entitled Class Action. A court hearing
concerning the fairness of the Settlement (the “Final Approval Hearing”) will be held on [DATE]
at [TIME] at the following address: The Spottswood W. Robinson III and Robert R. Merhige, Jr.,
Federal Courthouse, 701 East Broad Street, Richmond, VA 23219, Richmond Court Room
[[ROOM] to determine whether the settlement should be given final approval by the Court. You
are not required to attend the hearing in order to participate in the settlement. BECAUSE YOUR
RIGHTS MAY BE AFFECTED, IT IS EXTREMELY IMPORTANT THAT YOU READ THIS
ENTIRE NOTICE CAREFULLY.

If you have any questions, you may contact Epiq (the “Settlement Administrator”) toll-free at
[PHONE], or you may call Class Counsel at [PHONE]. You should not contact the Court,
Genworth, or Genworth’s counsel with questions about this Notice or the settlement, although
you may contact Genworth, as usual, about your policy, benefits, or any election letter received.

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A. DESCRIPTION OF THE CLASS ACTION

On January 11, 2021, four individuals with GLIC or GLICNY PCS I or PCS II long term care
insurance policies, Judy Halcom, Hugh Penson, Harold Cherry, and Richard Landino (“Named
Plaintiffs”), filed a Class Action Complaint (“Complaint”) against GLIC and GLICNY
(“Genworth”) in the United States District Court for the Eastern District of Virginia, alleging that
Genworth intentionally withheld material information from Policyholders with respect to the full
scope and magnitude of Genworth’s rate increase action plans and its reliance on Policyholders
paying increased rates to pay future claims (the “Complaint”). The Complaint asserted claims for
Fraudulent Inducement by Omission and for Declaratory Relief.

Genworth denies any wrongdoing or legal liability for any alleged wrongdoing in connection
with any facts or claims that have been or could have been alleged in Named Plaintiffs’ lawsuit,
whether on behalf of the Named Plaintiffs or Class Members. Genworth contends that neither
Named Plaintiffs nor the putative Class has been injured or is entitled to any relief. The Court
has not ruled on the merits of the claims or defenses.

All Parties believe in the merits of their respective claims and defenses. Nevertheless, due to the
uncertainties, risks, expenses, and business disruption of continued litigation, the Parties have
agreed to settle the lawsuit after voluntary mediation proceedings involving a mediator. The
parties have entered into a Joint Stipulation of Class Action Settlement and Release (“Settlement
Agreement”), which the Court has preliminarily approved as fair and reasonable. The principal
terms of the Settlement Agreement are summarized in this Notice. The full Settlement
Agreement is on file with the Court and available at:

                       www.PCSLongTermCareInsuranceSettlement.com.

The attorneys for plaintiffs Judy Halcom, Hugh Penson, Harold Cherry, and Richard Landino
have been designated by the Court as “Class Counsel” to represent all Class Members affected
by the Settlement Agreement. Class Counsel believes that the Settlement Agreement summarized
by this Notice is fair, reasonable, and adequate and in the best interests of the Class Members.
The following law firms are Class Counsel and represent the Class Members:

  GOLDMAN SCARLATO & PENNY, P.C.        ROBBINS GELLER RUDMAN & DOWD LLP
              Brian D. Penny                         Stuart A. Davidson
     161 Washington Street, Suite 1025     120 East Palmetto Park Road, Suite 500
         Conshohocken, PA 19428
                                                   Boca Raton, FL 33432
           PHELAN PETTY, PLC                    BERGER MONTAGUE PC
             Jonathan M. Petty                       Glen L. Abramson
      6641 West Broad Street, Suite 406        1818 Market Street, Suite 3600
            Richmond, VA 23230                    Philadelphia, PA 19103
                 CLASS COUNSEL’S TOLL-FREE NUMBER: 800-851-7783




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The Settlement Administrator is Epiq. Epiq’s phone number is [PHONE]; and its mailing address
is [ADDRESS].

B. CLASS MEMBERS

The “Class Members” for purposes of this settlement are defined as all Policyholders1 of GLIC
and GLICNY long-term care insurance PCS I and PCS II policies, and State variations of those
policies in force at any time during the Class Period and issued in any of the fifty (50) States of
the United States or the District of Columbia (the “States”)2 excluding: (1) those Policyholders
whose policies went into Non-Forfeiture Status3 or entered a Fully Paid-Up Status4 prior to
January 1, 2014; (2) those Policyholders whose Class Policy is Lapsed5 and is outside any
period Genworth allows for the Class Policy to be automatically reinstated with payment of past
due premium, or whose Class Policy has otherwise Terminated,6 as of the date of the Class
Notice; and those Policyholders whose Class Policy is Lapsed and is outside any period
Genworth allows for the Class Policy to be automatically reinstated with payment of past due
premium or has otherwise Terminated, as of the date the Special Election Letter (defined below)
would otherwise be mailed to the Policyholder; (3) those Policyholders who are deceased at any
time before their signed Special Election Option is post-marked for mailing to Genworth, or is
faxed or emailed to Genworth; (4) Genworth’s current officers, directors, and employees as of
the date Class Notice is mailed; and (5) Judge Robert E. Payne and his immediate family and
staff. Changes to your policy status or coverage (including, for example, whether your policy
lapses or is terminated) may also impact whether or not you are in the proposed settlement class.



1
  “Policyholder(s)” means the policy owner, except: (a) where a single policy or certificate insures both a policy or
certificate owner and another insured person, “Policyholder(s)” means both the policy or certificate owner and the
other insured person jointly, and (b) where the Class Policy at issue is certificate 7000X, 7020X, 7000Y, 7030CRT,
7031CRT, or 7032CRT, or any other Class Policy that is a certificate issued under a group long-term care insurance
policy, “Policyholder(s)” means the certificate holder.
2
  “Class Policies” means Genworth long-term care insurance policies on the policy forms identified in the attached
Appendix A hereto in force at any time during the Class Period and issued in any of the fifty (50) states of the
United States or the District of Columbia. The “Class Period” means any time on or between January 1, 2012 and
the date this Class Notice was mailed.
3
  Non-Forfeiture status means the exercise of a “Non-Forfeiture Option.” Non-Forfeiture Options include benefits
under an optional Non-forfeiture Benefit Rider, the Limited Benefits Upon Lapse Due to a Substantial Premium
Increase (also called a Contingent Non-forfeiture Benefit), and the Optional Limited Benefit Endorsement.
4
  “Fully Paid-Up Status” means a status whereby a Class Policy is continued in full force and effect and no further
premiums are owed. A Class Policy in Fully Paid-Up Status does not include a Class Policy that is in a Non-
Forfeiture Status.
5
  “Lapse” or “lapsed” means a status whereby a policy is no longer in force because premium was not paid as
required. A lapsed policy terminates and cannot be reinstated if it is outside any period Genworth allows for the
policy to be automatically reinstated with payment of past due premium. For purposes of this Agreement, a policy in
Non-Forfeiture Status is not a lapsed policy.
6
  “Terminated” means a status whereby a Class Policy is no longer in force and is unable to be automatically
reinstated by the Policyholder with payment of past due premium. It includes, for example, a Class Policy that has
lapsed beyond the period permitted for automatic reinstatement, a Class Policy that has been cancelled, or a Class
Policy (including a policy in Non-Forfeiture Status) that is no longer in force because all available benefits have
been exhausted.
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If your policy lapses after the date of this notice, it must be reinstated within your applicable
auto-reinstatement period if you wish to exercise rights and options in the settlement.

C. YOUR OPTIONS

As a Class Member, you have several options and you should read this entire Notice carefully
before acting.

OPTION #1: If you do not oppose the settlement of the lawsuit, then simply do nothing. You do
not need to return your Opt-Out Form and do not need to send any documents to the Settlement
Administrator. IF YOU DO NOTHING, YOU WILL BE BOUND BY THE TERMS OF THE
SETTLEMENT, INCLUDING THE RELEASE. If you do nothing, you will not have the right to
pursue your own action for the claims covered by the Class Action Release. If the Settlement
Agreement is approved by the Court, you will then be sent another correspondence with options
to elect to receive benefits under the Settlement Agreement.

OPTION #2: If you do NOT want to be bound by the Settlement Agreement and wish to retain
the right to proceed against GLIC and/or GLICNY on your own as to the claims that were
alleged, or that have a reasonable connection with any matter of fact set forth in the Class
Action, subject to any defenses that may be available to GLIC and/or GLICNY to any claims
you may have, including, but not limited to, statutes of limitation and statutes of repose, then you
must notify the Settlement Administrator that you wish to exclude yourself from the Settlement
Agreement and the Class.

To do so, you must send a signed letter to the Settlement Administrator, which includes: (1) your
name, (2) your address, (3) if available, your policy number, (4) a statement that you are
“requesting exclusion” from the Settlement Agreement, (5) the name of the case and case
number (Halcom, et al. v. Genworth Life Insurance Company, et al., Case No. 3:21-cv-00019-
REP), and (6) your signature.

Opt-out letters can be mailed to the Settlement Administrator at the following mailing address:
[ADDRESS].

The letter requesting exclusion must be postmarked no later than [DATE]. Any request for
exclusion received with a postmark after that date will be invalid.

IF YOU CHOOSE TO EXCLUDE YOURSELF, YOU WILL NOT RECEIVE THE
SETTLEMENT AGREEMENT POLICY ELECTION OPTIONS OR OTHER RELIEF
AND THE TERMS OF THE SETTLEMENT WILL NOT APPLY TO YOU.

OPTION #3: If you want to remain in the Settlement Agreement and be bound by its
terms, but you oppose any aspect of the Settlement Agreement, or Class Counsel’s
application for an award of fees and expenses, you may object to the Settlement
Agreement.

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In order to object, you must file a written Objection with the Clerk of United States District
Court for the Eastern District of Virginia, located at 701 East Broad Street, Richmond, VA
23219, and you must serve a copy of the written Objection on the Settlement Administrator at
the following address: [ADDRESS].

A written Objection must include: (1) your full name, (2) your current address, (3) the name of
the case and the case number (Halcom et al. v. Genworth Life Insurance Company et al., Case
No. 3:21-cv-00019-REP), (5) the basis or reason(s) for your objection(s), (6) your signature, and
(7) if you (or someone on your behalf such as an attorney) intends to appear at the Final
Approval Hearing, a statement stating that you (or someone on your behalf) intend to appear at
the Final Approval Hearing.

Any written Objection must be filed with the Court and sent to the Settlement Administrator
with a postmark no later than [DATE]. Any written Objection filed and/or mailed with a post-
mark after this deadline will be invalid.

You may be permitted to appear personally (or through an attorney) at the Final Approval
Hearing to present your objections directly to the Court if you timely file and serve a written
Objection and do not submit a request for exclusion. A written Objection must state whether you
(or someone on your behalf, such as an attorney) intends to appear at the Final Approval
Hearing. If you wish to have an attorney represent you in connection with any written Objection,
including to appear at the Final Approval Hearing, you will be responsible for any fees or
expenses of that attorney. If you submit a written Objection, you will remain a Class Members
and, if the Court rejects your objection(s), you will still be bound by the terms of the Settlement
Agreement, including the Release.

D. SUMMARY OF PROPOSED SETTLEMENT TERMS

This Settlement Agreement is conditioned upon the Court entering an order granting final
approval of the Settlement Agreement as fair, reasonable, and adequate and in the best interests
of the Class. Subject to the Settlement Agreement becoming final, the terms of the Settlement
Agreement are as follows:

   1. Special Election Disclosures and Options: In consideration for a Release as described
      in Paragraph D.2, and as a direct result of the Class Action and the Settlement
      Agreement, Genworth will send a special election letter (“Special Election Letter”) to all
      Class Members after the Settlement has been finally approved. The Special Election
      Letter will contain, subject to approval by the Court and being approved by and/or not
      objected to by state insurance regulators:

       (a) Disclosure of certain information about GLIC’s and/or GLICNY’s future rate
           increase plans and need for future rate increases (the “Disclosures”); and



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      (b) Class Members’ right to make an election of either (1) maintaining current benefits at
          existing filed rates (subject to the future approved rate increases), or (2) electing from
          a selection of reduced paid-up benefit options or reduced benefit options (the “Special
          Election Options”), subject to the availability of those options depending on each
          Class Member’ current policy terms and benefits and any state limitations concerning
          Partnership Plan (“Partnership Plan”) requirements. Special Election Options that
          may be available could increase the amount of your current non-forfeiture paid-up
          benefit or entitle you to cash damages pay-outs. The actual Special Election Options
          available to you will depend upon many factors including, but not limited to, your
          current policy status and benefits, final court approval, and state regulatory review
          and comment.

      (c) Please visit the settlement website,
          www.PCSLongTermCareInsuranceSettlement.com, for a full description of these
          options and a sample of the Special Election Letter.

   2. Release: Each member of the Class who does not timely and validly opt out of the Class,
      will fully and irrevocably waive and release GLIC and GLICNY (collectively
      “Genworth”) and each of those entities’ respective affiliates, predecessors, successors,
      parents, subsidiaries, and, for each of the foregoing, their current, former, and future
      directors, officers, direct and indirect owners, members, managers, attorneys,
      representatives, employees, and agents (the “Genworth Released Parties”) of and from
      any and all known or unknown, contingent or absolute, matured or unmatured, suspected
      or unsuspected, disclosed or undisclosed, foreseeable or unforeseeable, liquidated or
      unliquidated, existing or arising in the future, and accrued or unaccrued claims, demands,
      interest, penalties, fines, and causes of action, that the Named Plaintiffs and Class
      Members may have from the beginning of time through and including the final settlement
      date that relate to claims alleged, or that have a reasonable connection with any matter of
      fact set forth in the Class Action including, but not limited to, any claims relating to rate
      increases on Class Policies. This release specifically includes any legal or equitable claim
      arising from or related to any election or policy change made or not made by any Class
      Members to his or her policy benefits prior to the final settlement date. Named Plaintiffs
      and Class Members will further release the Genworth Released Parties and Class Counsel
      from any future claims, on any legal or equitable basis, relating to or arising out of the
      Special Election Options and/or statements and representations provided in connection
      with the Special Election Options including (but not limited to) any claim specifically
      relating to any decision, or non-decision, to maintain, modify, or give up coverage.

      This Release will not prevent a Class Member from making a claim for benefits under his
      or her long-term care insurance policy consistent with his or her policy coverage, nor
      shall it include a Class Member’s challenge or appeal of Genworth’s denial of benefits
      under his or her Class Policy.
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       This Class Notice only contains a summary of the actual benefits and release language
       contained in the Stipulation of Settlement, which is on file with the Court and available
       for your review, including on the settlement website described below. If the Settlement
       Agreement is not approved by the Court or does not become final for any reason, the
       Class Action will continue, this Release will not be binding, and the Special Election
       Options will not be available.

   3. Attorneys’ Fees and Litigation Expenses: As part of the request for Final Approval of
      the Settlement Agreement, Class Counsel will file a request seeking to be paid the
      following:

       (a) $1,000,000.00 relating to the injunctive relief that is in the form of the Disclosures.

       (b) An additional contingent payment of 15% of certain amounts related to Special
           Election Options selected by the Class, which shall be no greater than
           $18,500,000.00. None of the attorneys’ fees will be deducted from payments made by
           Genworth to Class Members.

Class Counsel will also file a request for an award of reasonable litigation expenses in this case.
These expenses will be no more than $50,000.

These are the only attorneys’ fees and litigation expenses that Class Counsel will be paid as a
result of the Settlement. Class members will not be required to separately pay Class Counsel for
any other attorneys’ fees or expenses. Genworth has agreed to pay all fees and expenses
separately. The actual amounts of attorneys’ fees and litigation expenses to be paid to Class
Counsel will be determined by the Court, and these amounts will be paid by Genworth directly to
Class Counsel.

This Class Notice only contains a summary of the actual Attorneys’ Fees and Litigation
Expenses provisions contained in the Settlement Agreement, which is on file with the Court and
available for your review, including on the settlement website described below.

   4. Class Representative Service Payment: Named Plaintiffs Judy Halcom, Hugh Penson,
      Harold Cherry, and Richard Landino have been appointed as class representatives by the
      Court. As part of the request for Final Approval of the Settlement Agreement, Class
      Counsel will request that service payments be awarded to each class representative in an
      amount of up to $15,000 for each of them for the time, work, and risk they undertook in
      bringing this Class Action and achieving a settlement on behalf of all Class Members.
      None of the service payments approved by the Court will be deducted from payments
      made by Genworth to Class Members.


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E. FINAL APPROVAL HEARING ON PROPOSED SETTLEMENT

The Final Approval Hearing on the fairness and adequacy of the Settlement Agreement will be
held on [DATE], 202[], at [TIME] in Courtroom [#] in The Spottswood W. Robinson III and
Robert R. Merhige, Jr., Federal Courthouse, 701 East Broad Street, Richmond, VA 23219. You
are not required to attend the Final Approval Hearing in order to participate in the Settlement
Agreement, although you are free to do so if you choose. The Court, in its discretion, may
continue the Final Approval Hearing to a later date, in which case no additional written notice
will be sent to Class Members, so it is incumbent upon you to check the settlement website
regarding the Final Approval Hearing date and time if you wish to attend.


F. ADDITIONAL IMPORTANT INFORMATION

The Special Election Options described in this notice still require final approval by the Court and
are subject to review by state insurance regulators.

You should also consider the following additional information, which may impact the
availability of Special Election Options under this settlement:

               1. If you currently have a long-term care policy with
                  Genworth, you must continue to pay premiums (unless
                  your premiums have been waived or your policy is in Fully
                  Paid-Up Status) to keep your policy in force so that it is
                  eligible for Special Election Options under this settlement.
                  Your premiums also remain subject to any rate increases that
                  may be approved or otherwise permitted.

               2. Changes to your policy status or coverage (including lapse
                  or termination) may impact whether or not you are in the
                  proposed settlement class and/or whether Special Election
                  Options will be available to you.

                   •   If your policy lapses after the date of this notice but is still
                       in the period during which your policy can be automatically
                       reinstated by paying any past-due premium, you will need
                       to reinstate your policy by paying the past-due premium to
                       exercise any rights and options under the settlement.

                   •   If, before you are sent a Special Election Letter, your policy
                       lapses and is outside any period Genworth allows for the
                       policy to be automatically reinstated with payment of past

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                      due premium, or terminates for any other reason, then you
                      will be excluded from the Settlement Class and the Special
                      Election Options will not be available to you.

                  •   If, after you have been sent a Special Election Letter, your
                      policy lapses and is outside any period Genworth allows for
                      the policy to be automatically reinstated with payment of
                      past due premium, or terminates for any other reason, then
                      you will remain in the Settlement Class and release your
                      claims, but you will no longer be eligible for the Special
                      Election Options.

               3. If you reduce your coverage, including in response to a rate
                  increase on your policy, your reduction in coverage may
                  affect the Special Election Options that otherwise may
                  become available to you under this settlement. As a
                  Policyholder, you have options to reduce your coverage that
                  are separate from the Special Election Options that may
                  become available to you under this settlement. For example,
                  if there is a premium rate increase on your policy, you will
                  have options for reducing your coverage. Those options will
                  be different from any Special Election Options that may
                  become available under this settlement and do not include the
                  possibility of a cash damages payout. If you select an option
                  to reduce your coverage separate from the Special Election
                  Options that may be available under this settlement, you may
                  eliminate or reduce the availability of any future Special
                  Election Options or the value of any corresponding cash
                  damages payments that may be available. Whether one of these
                  options or any Special Election Option will best meet your
                  needs will depend on your specific circumstances.

This Notice is only a summary of the Settlement Agreement. For the precise terms and
conditions of the settlement, the complete Settlement Agreement, pleadings and documents on
file in this case, and other information about this settlement including important dates, PLEASE
VISIT THE SETTLEMENT WEBSITE AT www.PCSLongTermCareInsuranceSettlement.com
OR CALL THE SETTLEMENT ADMINISTRATOR AT [PHONE].




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                           APPENDIX 1 TO CLASS NOTICE

                                 CLASS POLICIES

PCS 1 Class Policies

              State                        Policy/Certificate Form
 Alabama                    7000X
                            7020X
 Alaska                     7000X
                            7020X
 Arizona                    7000
                            7020AS
 Arkansas                   7000
                            7020
 California                 7011
                            7012
                            50022K
                            7000AS
                            7000AU
                            7020B
 Colorado                   7000B
                            7001B
                            7020S
                            7022B
                            7022S
 Connecticut                50024B
                            7000AT
                            7000R
                            7001R
                            7020AA
 Connecticut Partnership    50024
                            50024B
 D. C.                      7000X
                            7001X
                            7020X
 Delaware                   7000AA
                            7020A
 Florida                    7000N
                            7001N
                            7020C



                                      70
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 Georgia                 50021D
                         7000W
                         7000Y
                         7001W
                         7020Y
 Hawaii                  7000V
                         7001V
                         7020AJ
 Idaho                   7000AL
                         7020AE
 Illinois                7000C
                         7001C
                         7020E
 Indiana                 50024A
                         7000AM
                         7020Q
 Indiana Partnership     50024A
 Iowa                    7000
                         7020K
 Kansas                  7000M
                         7020N
 Kentucky                7000Q
                         7001Q
                         7020AC
 Louisiana               7000
                         7020AU
 Maine                   50020U
                         7000AD
                         7003AE
                         7003CA
 Maryland                7000AP
                         7020BB
                         7020V
 Massachusetts           7000AR
                         7001X
                         7020X
 Michigan                7000AG
                         7020T
 Minnesota               7002MA/B
                         7002MC
                         7020AQ
                         7020BF


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 Mississippi             7000AF
                         7020AL
 Missouri                7000F
                         7001F
                         7020G
 Montana                 7000AH
                         7020AG
 Nebraska                7000J
                         7001J
                         7020U
 Nevada                  7000AJ
                         7020AP
 New Hampshire           7000T
                         7001T
                         7020AK
 New Jersey              7000X
                         7001X
                         7020X
 New Mexico              7000AB
                         7020AR
 New York                50110
                         51000
                         51001
                         51002
 New York Partnership    50109
 North Carolina          7000A
                         7001A
                         7020J
 North Dakota            7000U
                         7001U
                         7020AH
 Ohio                    7000G
                         7001G
                         7020H
 Oklahoma                7000AC
                         7020AD
 Oregon                  7000AN
                         7020AF
 Pennsylvania            7000AX
                         7000L
                         7001M
                         7020BA
                         7020F


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 Rhode Island            7000AK
                         7020AN
 South Carolina          50020P
                         7000P
                         7001P
                         7020BD
                         7020M
 South Dakota            7000AE
                         7020AM
 Tennessee               7000D
                         7001D
                         7020R
 Texas                   7000AV
                         7000E
                         7001E
                         7020BC
                         7020D
 Utah                    7000
                         7020AV
 Vermont                 7000
                         7020
 Virginia                7000AQ
                         7001H
                         7020P
 Washington              50020E
                         7000AW
                         7000K
                         7001K
                         7020L
 West Virginia           7000
                         7020
 Wisconsin               50022E
                         50023A
                         7020AB
                         7020BE
                         7000S
 Wyoming                 7000
                         7020




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PCS 2 Class Policies

              State                       Policy/Certificate Form
 Alabama                 7030
                         7031
                         7032
                         7030CRT
                         7031CRT
                         7032CRT
 Alaska                  7030AZ
                         7031AZ
                         7032AV
 Arizona                 7030AM
                         7031AM
                         7032AJ
 Arkansas                7030AB
                         7031AB
                         7032AW
 California              7030AE
                         7031AE
                         7032AE
                         7034
                         7011-A
                         7012-A
                         7034A
 Colorado                7030A
                         7031A
                         7032A
 Connecticut             7030F
                         7031F
                         7032F
                         7033
 D.C.                    7030
                         7031
                         7032
 Delaware                7030B
                         7031B
                         7032B
 Florida                 7030H
                         7031H
                         7032H

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 Georgia                 7030AL
                         7031AL
                         7032AN
 Hawaii                  7030AD
                         7031AD
                         7032AC
 Idaho                   7030AV
                         7031AU
                         7032AR
 Illinois                7030D
                         7031D
                         7032D
 Indiana                 7030AQ
                         7031AP
                         7032AL
                         50024D-7030AP
                         7032AK
 Iowa                    7030G
                         7031G
                         7032G
 Kansas                  7030AF
                         7031AF
 Kentucky                7030Q
                         7031Q
                         7032Q
 Louisiana               7030AG
                         7031AG
                         7032AF
 Maine                   7030AT
                         7031AS
                         7032AP
 Maryland                7030R
                         7031R
                         7032R
 Massachusetts           7030AA
                         7031AA
                         7030CRT
                         7031CRT
                         7032CRT
 Michigan                7030
                         7031
                                     75
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 Minnesota               7030P
                         7031P
                         7032P
 Mississippi             7030V
                         7031V
                         7032V
 Missouri                7030C
                         7031C
                         7032C
 Montana                 7030W
                         7031W
                         7032W
 Nebraska                7030K
                         7031K
                         7032K
 Nevada                  7030U
                         7031U
                         7032U
 New Hampshire           7030AX
                         7031AW
                         7032AT
 New Jersey              7030
                         7031
                         7032
                         7030CRT
                         7031CRT
                         7032CRT
 New Mexico              7030AH
                         7031AH
                         7032AD
 New York                51005
                         51006
                         51007
 New York Partnership    51008
 North Carolina          7030AW
                         7031AV
                         7032AS
 North Dakota            7031AT
                         7032AQ
                         7030AU


                                     76
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 Ohio                    7030AK
                         7031AK
                         7032AH
 Oklahoma                7030S
                         7031S
                         7032S
                         7031X
 Oregon                  7030AN
                         7031AN
 Pennsylvania            7030N
                         7031N
                         7032N
 Rhode Island            7030AS
                         7031AR
 South Carolina          7030J
                         7031J
                         7032J
 South Dakota            7030AR
                         7031AQ
                         7032AM
 Tennessee               7030E
                         7031E
                         7032E
 Texas                   7030M
                         7031M
                         7032M
 Utah                    7030T
                         7031T
                         7032T
 Vermont                 7030
                         7031AY
                         7032
 Virginia                7030L
                         7031L
                         7032L
 Washington              7030AC
                         7031AC
                         7032AB
 West Virginia           7030
                         7031
                         7032
                                     77
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 Wisconsin               7030AJ
                         7031AJ
                         7032AG
 Wyoming                 7030
                         7031
                         7032




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                                        APPENDIX F

                                  PUBLICATION NOTICE

           Genworth Long-Term Care Insurance PCS I and PCS II Class Action

        Do you own a PCS I or PCS II long-term care insurance policy issued by Genworth Life
Insurance Company or Genworth Life Insurance Company of New York? If so, you may be part
of a class action settlement. Genworth has agreed to settle a proposed class action involving
certain PCS I and PCS II long-term care policies.

       In January 2021, four policyholders brought a lawsuit on behalf of a class alleging that
Genworth should have included certain additional information in letters sent to Genworth PCS I
and PCS II policyholders about premium rate increases. Genworth denies all allegations and
maintains that its disclosures to policyholders were reasonable, appropriate and truthful.

        Pending final Court approval and subject to certain conditions, impacted policyholders
may receive certain disclosures and policy options, including potential payments or credits. If
you are a class member, you may be entitled to obtain this relief, and you may have other rights
relating to the proposed settlement. To learn more about the settlement (including whether you
are a class member and how to be excluded from or object to the settlement), you may visit this
website, www.PCSLongTermCareInsuranceSettlement.com, or call the Settlement Administrator
at [].




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